         Case 1:20-cv-03412-3JP Document 8          Filed 02/10/21    Page 1 of 25




                UNITED STATES COURT OF INTERNATIONAL TRADE



                                                 Court No. 21-cv-00052-3JP
 In Re Section 301 Cases
                                                 and Attached Schedule




Standard Procedure Order No. 21-01



         It appearing that the cases listed in the attached schedule involve claims arising

from and seek relief relating to tariffs announced or imposed on products covered by

Lists 3, 4A, and 4B pursuant to Section 301 of the Trade Act of 1974, 19 U.S.C. § 2411,

and that similar actions may subsequently be ﬁled in this court and assigned to this

panel, it is hereby ORDERED:


Types of Cases. The cases listed in the attached schedule and similar cases

subsequently assigned to this panel are referenced herein as the “Section 301 Cases,”

or, individually, as a “Section 301 Case.”


Filing of Order. A copy of this order shall be ﬁled in each Section 301 Case.


Filing Papers with the Court. The purpose of the following instructions is to reduce the

time and expense of duplicate ﬁlings of documents through the use of a master case,

while at the same time ensuring that the master case is not filled with miscellaneous

pleadings and orders that are of interest only to the parties directly affected by them. It

is not intended that a party lose any rights based on a failure to follow these

instructions.
        Case 1:20-cv-03412-3JP Document 8          Filed 02/10/21    Page 2 of 25

Court No. 21-cv-00052-3JP                                                           Page 2


   (a) Master Case. The clerk will maintain a master case under the name “In Re

      Section 301 Cases” as master case number 21-cv-00052-3JP. Orders,

      pleadings, motions, and other documents bearing a caption similar to that of this

      order will, when docketed and ﬁled in the master case, be deemed to have been

      docketed and ﬁled in each individual case to the extent applicable and will not

      ordinarily be separately docketed or physically ﬁled in such individual cases. The

      caption, however, should contain a notation indicating whether the document

      relates to all cases or only to specified cases.


   (b) Separate Filing. A document that relates only to a specific case and would not

      be of interest except to the parties directly affected by it should bear the caption

      and case number of that case rather than of the master case. Such a document

      should be docketed and ﬁled in that case and not in the master case.


   (c) Appearances. Counsel wishing to receive notice of filings in the master case

      must file a notice of appearance in master case number 21-cv-00052-3JP. A

      notice of appearance in the master case by counsel for the defendants will

      constitute an appearance in the Section 301 Cases for purposes of U.S. Court of

      International Trade (“USCIT”) Rule 75(b).


Master Answer. By March 12, 2021, the defendants will ﬁle in master case number 21-

   cv-00052-3JP a master answer that incorporates their defenses in law or fact to

   claims made against them in the Section 301 Cases. The answer will not attempt to

   provide a cross-reference to particular paragraphs or counts of the various

   complaints. The answer will, however, in a “generic” manner admit or deny
        Case 1:20-cv-03412-3JP Document 8          Filed 02/10/21    Page 3 of 25

Court No. 21-cv-00052-3JP                                                           Page 3


   (including denials based on lack of information and belief) the allegations typically

   included in claims made against them as well as make such additional allegations as

   are appropriate to their defenses. When so ﬁled in master case number 21-cv-

   00052-3JP, this answer will constitute an answer in each Section 301 Case now

   pending or hereafter ﬁled in this court and assigned to this panel, except to the

   extent the defendants later ﬁle a separate answer in an individual case. The

   defendants’ filing of a master answer will be considered without prejudice to the

   defendants raising any arguments concerning any plaintiff’s failure to state a claim

   upon which relief can be granted.


Service of Complaints


   (a) Acceptable Service. The Office of the Attorney-in-Charge, International Trade

      Field Office, Commercial Litigation Branch, Department of Justice (“Attorney-in-

      Charge”), may accept service of the summons and complaint in the Section 301

      Cases on behalf of U.S. Customs and Border Protection (“CBP”), in satisfaction

      of the obligations arising under 28 U.S.C. § 2633(c) and USCIT Rule 4(h)(2); and


      To the extent any plaintiff has previously served a copy of the summons and

      complaint upon the Attorney-in-Charge, pursuant to the service obligations of

      USCIT Rule 4(h)(1), the service of those documents shall be treated as

      accomplishing service on both the Attorney General of the United States and

      CBP.
          Case 1:20-cv-03412-3JP Document 8           Filed 02/10/21    Page 4 of 25

Court No. 21-cv-00052-3JP                                                              Page 4


   (b) Extension of Time to Serve. Notwithstanding USCIT Rule 4(l), plaintiffs shall

         have thirty days after the date of this order in which to effect service on the

         defendants.


Motions


         (a) Meet and Confer. To avoid unnecessary litigation concerning procedural

         motions, counsel are directed to meet and confer before ﬁling such a motion. In

         any such motion ﬁled, counsel for the moving party must certify that a good-faith

         effort was made to resolve the dispute, with sufficient context for the court to

         assist with further resolution.


         (b) Motions Under USCIT Rules 11, 12, 56, and 56.1. No motion shall be ﬁled

         under USCIT Rule 11, 12, 56 or 56.1 without leave of court.


Orders. For purposes of administration and scheduling, one-judge orders may be

entered by Judge Mark A. Barnett.




Dated:     February 10, 2021                      /s/ Mark A. Barnett
         New York, New York                 Judge Mark A. Barnett



                                                  /s/ Claire R. Kelly
                                            Judge Claire R. Kelly



                                                  /s/ Jennifer Choe-Groves
                                            Judge Jennifer Choe-Groves
 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 5 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐00177   1:2020‐cv‐00179       1:2020‐cv‐00180    1:2020‐cv‐00181
1:2020‐cv‐00182   1:2020‐cv‐00183       1:2020‐cv‐00184    1:2020‐cv‐00185
1:2020‐cv‐00186   1:2020‐cv‐00187       1:2020‐cv‐00188    1:2020‐cv‐00189
1:2020‐cv‐00191   1:2020‐cv‐00192       1:2020‐cv‐00193    1:2020‐cv‐00194
1:2020‐cv‐00195   1:2020‐cv‐00196       1:2020‐cv‐00197    1:2020‐cv‐00198
1:2020‐cv‐00199   1:2020‐cv‐00200       1:2020‐cv‐00201    1:2020‐cv‐00202
1:2020‐cv‐00203   1:2020‐cv‐00204       1:2020‐cv‐00205    1:2020‐cv‐00206
1:2020‐cv‐00207   1:2020‐cv‐00208       1:2020‐cv‐00209    1:2020‐cv‐00210
1:2020‐cv‐00211   1:2020‐cv‐00212       1:2020‐cv‐00213    1:2020‐cv‐00214
1:2020‐cv‐00215   1:2020‐cv‐00216       1:2020‐cv‐00217    1:2020‐cv‐00218
1:2020‐cv‐00219   1:2020‐cv‐00220       1:2020‐cv‐00221    1:2020‐cv‐00223
1:2020‐cv‐00224   1:2020‐cv‐00225       1:2020‐cv‐00226    1:2020‐cv‐00227
1:2020‐cv‐00228   1:2020‐cv‐00229       1:2020‐cv‐00231    1:2020‐cv‐00232
1:2020‐cv‐00233   1:2020‐cv‐00234       1:2020‐cv‐00235    1:2020‐cv‐00236
1:2020‐cv‐00237   1:2020‐cv‐00238       1:2020‐cv‐00239    1:2020‐cv‐00240
1:2020‐cv‐00241   1:2020‐cv‐00242       1:2020‐cv‐00243    1:2020‐cv‐00244
1:2020‐cv‐00245   1:2020‐cv‐00246       1:2020‐cv‐00247    1:2020‐cv‐00248
1:2020‐cv‐00249   1:2020‐cv‐00250       1:2020‐cv‐00251    1:2020‐cv‐00252
1:2020‐cv‐00253   1:2020‐cv‐00254       1:2020‐cv‐00255    1:2020‐cv‐00256
1:2020‐cv‐00257   1:2020‐cv‐00258       1:2020‐cv‐00259    1:2020‐cv‐00260
1:2020‐cv‐00261   1:2020‐cv‐00262       1:2020‐cv‐00263    1:2020‐cv‐00264
1:2020‐cv‐00265   1:2020‐cv‐00266       1:2020‐cv‐00267    1:2020‐cv‐00268
1:2020‐cv‐00269   1:2020‐cv‐00270       1:2020‐cv‐00271    1:2020‐cv‐00272
1:2020‐cv‐00273   1:2020‐cv‐00274       1:2020‐cv‐00275    1:2020‐cv‐00276
1:2020‐cv‐00277   1:2020‐cv‐00278       1:2020‐cv‐00279    1:2020‐cv‐00280
1:2020‐cv‐00281   1:2020‐cv‐00282       1:2020‐cv‐00283    1:2020‐cv‐00284
1:2020‐cv‐00285   1:2020‐cv‐00286       1:2020‐cv‐00287    1:2020‐cv‐00288
1:2020‐cv‐00289   1:2020‐cv‐00290       1:2020‐cv‐00291    1:2020‐cv‐00292
1:2020‐cv‐00293   1:2020‐cv‐00294       1:2020‐cv‐00295    1:2020‐cv‐00296
1:2020‐cv‐00297   1:2020‐cv‐00298       1:2020‐cv‐00299    1:2020‐cv‐00300
1:2020‐cv‐00301   1:2020‐cv‐00302       1:2020‐cv‐00303    1:2020‐cv‐00304
1:2020‐cv‐00305   1:2020‐cv‐00306       1:2020‐cv‐00307    1:2020‐cv‐00308
1:2020‐cv‐00309   1:2020‐cv‐00310       1:2020‐cv‐00311    1:2020‐cv‐00312
1:2020‐cv‐00313   1:2020‐cv‐00314       1:2020‐cv‐00315    1:2020‐cv‐00317
1:2020‐cv‐00318   1:2020‐cv‐00319       1:2020‐cv‐00320    1:2020‐cv‐00321
1:2020‐cv‐00322   1:2020‐cv‐00323       1:2020‐cv‐00324    1:2020‐cv‐00325
1:2020‐cv‐00326   1:2020‐cv‐00327       1:2020‐cv‐00328    1:2020‐cv‐00329
1:2020‐cv‐00330   1:2020‐cv‐00331       1:2020‐cv‐00332    1:2020‐cv‐00333
1:2020‐cv‐00334   1:2020‐cv‐00335       1:2020‐cv‐00336    1:2020‐cv‐00337
1:2020‐cv‐00338   1:2020‐cv‐00339       1:2020‐cv‐00340    1:2020‐cv‐00341
1:2020‐cv‐00342   1:2020‐cv‐00343       1:2020‐cv‐00344    1:2020‐cv‐00345
1:2020‐cv‐00346   1:2020‐cv‐00347       1:2020‐cv‐00348    1:2020‐cv‐00349
1:2020‐cv‐00350   1:2020‐cv‐00351       1:2020‐cv‐00352    1:2020‐cv‐00353
1:2020‐cv‐00354   1:2020‐cv‐00355       1:2020‐cv‐00356    1:2020‐cv‐00357


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 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 6 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐00358   1:2020‐cv‐00359       1:2020‐cv‐00360    1:2020‐cv‐00361
1:2020‐cv‐00362   1:2020‐cv‐00363       1:2020‐cv‐00364    1:2020‐cv‐00365
1:2020‐cv‐00366   1:2020‐cv‐00367       1:2020‐cv‐00368    1:2020‐cv‐00369
1:2020‐cv‐00370   1:2020‐cv‐00371       1:2020‐cv‐00372    1:2020‐cv‐00373
1:2020‐cv‐00374   1:2020‐cv‐00375       1:2020‐cv‐00376    1:2020‐cv‐00377
1:2020‐cv‐00378   1:2020‐cv‐00380       1:2020‐cv‐00381    1:2020‐cv‐00382
1:2020‐cv‐00383   1:2020‐cv‐00384       1:2020‐cv‐00385    1:2020‐cv‐00386
1:2020‐cv‐00387   1:2020‐cv‐00388       1:2020‐cv‐00389    1:2020‐cv‐00390
1:2020‐cv‐00391   1:2020‐cv‐00392       1:2020‐cv‐00393    1:2020‐cv‐00394
1:2020‐cv‐00395   1:2020‐cv‐00396       1:2020‐cv‐00397    1:2020‐cv‐00398
1:2020‐cv‐00399   1:2020‐cv‐00400       1:2020‐cv‐00401    1:2020‐cv‐00402
1:2020‐cv‐00403   1:2020‐cv‐00404       1:2020‐cv‐00405    1:2020‐cv‐00406
1:2020‐cv‐00407   1:2020‐cv‐00408       1:2020‐cv‐00409    1:2020‐cv‐00410
1:2020‐cv‐00411   1:2020‐cv‐00412       1:2020‐cv‐00413    1:2020‐cv‐00414
1:2020‐cv‐00415   1:2020‐cv‐00416       1:2020‐cv‐00417    1:2020‐cv‐00419
1:2020‐cv‐00420   1:2020‐cv‐00421       1:2020‐cv‐00422    1:2020‐cv‐00423
1:2020‐cv‐00424   1:2020‐cv‐00425       1:2020‐cv‐00427    1:2020‐cv‐00428
1:2020‐cv‐00429   1:2020‐cv‐00430       1:2020‐cv‐00431    1:2020‐cv‐00432
1:2020‐cv‐00433   1:2020‐cv‐00434       1:2020‐cv‐00435    1:2020‐cv‐00436
1:2020‐cv‐00437   1:2020‐cv‐00438       1:2020‐cv‐00439    1:2020‐cv‐00441
1:2020‐cv‐00442   1:2020‐cv‐00443       1:2020‐cv‐00444    1:2020‐cv‐00445
1:2020‐cv‐00446   1:2020‐cv‐00447       1:2020‐cv‐00448    1:2020‐cv‐00449
1:2020‐cv‐00450   1:2020‐cv‐00451       1:2020‐cv‐00452    1:2020‐cv‐00453
1:2020‐cv‐00454   1:2020‐cv‐00455       1:2020‐cv‐00456    1:2020‐cv‐00457
1:2020‐cv‐00458   1:2020‐cv‐00459       1:2020‐cv‐00460    1:2020‐cv‐00461
1:2020‐cv‐00462   1:2020‐cv‐00463       1:2020‐cv‐00464    1:2020‐cv‐00465
1:2020‐cv‐00466   1:2020‐cv‐00467       1:2020‐cv‐00468    1:2020‐cv‐00470
1:2020‐cv‐00471   1:2020‐cv‐00472       1:2020‐cv‐00473    1:2020‐cv‐00474
1:2020‐cv‐00475   1:2020‐cv‐00476       1:2020‐cv‐00477    1:2020‐cv‐00478
1:2020‐cv‐00479   1:2020‐cv‐00480       1:2020‐cv‐00481    1:2020‐cv‐00482
1:2020‐cv‐00483   1:2020‐cv‐00484       1:2020‐cv‐00485    1:2020‐cv‐00486
1:2020‐cv‐00487   1:2020‐cv‐00488       1:2020‐cv‐00489    1:2020‐cv‐00490
1:2020‐cv‐00491   1:2020‐cv‐00492       1:2020‐cv‐00493    1:2020‐cv‐00494
1:2020‐cv‐00495   1:2020‐cv‐00496       1:2020‐cv‐00497    1:2020‐cv‐00498
1:2020‐cv‐00499   1:2020‐cv‐00500       1:2020‐cv‐00501    1:2020‐cv‐00502
1:2020‐cv‐00503   1:2020‐cv‐00504       1:2020‐cv‐00505    1:2020‐cv‐00506
1:2020‐cv‐00507   1:2020‐cv‐00508       1:2020‐cv‐00509    1:2020‐cv‐00510
1:2020‐cv‐00512   1:2020‐cv‐00513       1:2020‐cv‐00514    1:2020‐cv‐00515
1:2020‐cv‐00516   1:2020‐cv‐00517       1:2020‐cv‐00518    1:2020‐cv‐00519
1:2020‐cv‐00520   1:2020‐cv‐00521       1:2020‐cv‐00522    1:2020‐cv‐00523
1:2020‐cv‐00524   1:2020‐cv‐00525       1:2020‐cv‐00526    1:2020‐cv‐00527
1:2020‐cv‐00528   1:2020‐cv‐00529       1:2020‐cv‐00530    1:2020‐cv‐00532
1:2020‐cv‐00533   1:2020‐cv‐00534       1:2020‐cv‐00535    1:2020‐cv‐00536
1:2020‐cv‐00537   1:2020‐cv‐00538       1:2020‐cv‐00539    1:2020‐cv‐00541


                                    2
 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 7 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐00542   1:2020‐cv‐00544       1:2020‐cv‐00545    1:2020‐cv‐00546
1:2020‐cv‐00548   1:2020‐cv‐00549       1:2020‐cv‐00550    1:2020‐cv‐00551
1:2020‐cv‐00552   1:2020‐cv‐00553       1:2020‐cv‐00555    1:2020‐cv‐00556
1:2020‐cv‐00557   1:2020‐cv‐00558       1:2020‐cv‐00559    1:2020‐cv‐00560
1:2020‐cv‐00561   1:2020‐cv‐00562       1:2020‐cv‐00563    1:2020‐cv‐00564
1:2020‐cv‐00565   1:2020‐cv‐00566       1:2020‐cv‐00567    1:2020‐cv‐00568
1:2020‐cv‐00569   1:2020‐cv‐00570       1:2020‐cv‐00571    1:2020‐cv‐00572
1:2020‐cv‐00573   1:2020‐cv‐00574       1:2020‐cv‐00575    1:2020‐cv‐00576
1:2020‐cv‐00577   1:2020‐cv‐00578       1:2020‐cv‐00579    1:2020‐cv‐00581
1:2020‐cv‐00582   1:2020‐cv‐00583       1:2020‐cv‐00584    1:2020‐cv‐00585
1:2020‐cv‐00586   1:2020‐cv‐00587       1:2020‐cv‐00588    1:2020‐cv‐00589
1:2020‐cv‐00590   1:2020‐cv‐00591       1:2020‐cv‐00592    1:2020‐cv‐00593
1:2020‐cv‐00594   1:2020‐cv‐00595       1:2020‐cv‐00596    1:2020‐cv‐00597
1:2020‐cv‐00599   1:2020‐cv‐00600       1:2020‐cv‐00601    1:2020‐cv‐00602
1:2020‐cv‐00603   1:2020‐cv‐00604       1:2020‐cv‐00605    1:2020‐cv‐00606
1:2020‐cv‐00607   1:2020‐cv‐00608       1:2020‐cv‐00609    1:2020‐cv‐00610
1:2020‐cv‐00611   1:2020‐cv‐00612       1:2020‐cv‐00613    1:2020‐cv‐00614
1:2020‐cv‐00615   1:2020‐cv‐00616       1:2020‐cv‐00617    1:2020‐cv‐00618
1:2020‐cv‐00619   1:2020‐cv‐00620       1:2020‐cv‐00621    1:2020‐cv‐00622
1:2020‐cv‐00623   1:2020‐cv‐00625       1:2020‐cv‐00626    1:2020‐cv‐00627
1:2020‐cv‐00628   1:2020‐cv‐00629       1:2020‐cv‐00630    1:2020‐cv‐00631
1:2020‐cv‐00632   1:2020‐cv‐00633       1:2020‐cv‐00634    1:2020‐cv‐00635
1:2020‐cv‐00636   1:2020‐cv‐00637       1:2020‐cv‐00638    1:2020‐cv‐00639
1:2020‐cv‐00640   1:2020‐cv‐00641       1:2020‐cv‐00642    1:2020‐cv‐00643
1:2020‐cv‐00644   1:2020‐cv‐00645       1:2020‐cv‐00646    1:2020‐cv‐00647
1:2020‐cv‐00648   1:2020‐cv‐00649       1:2020‐cv‐00650    1:2020‐cv‐00651
1:2020‐cv‐00652   1:2020‐cv‐00653       1:2020‐cv‐00654    1:2020‐cv‐00655
1:2020‐cv‐00656   1:2020‐cv‐00657       1:2020‐cv‐00658    1:2020‐cv‐00659
1:2020‐cv‐00660   1:2020‐cv‐00661       1:2020‐cv‐00662    1:2020‐cv‐00663
1:2020‐cv‐00664   1:2020‐cv‐00665       1:2020‐cv‐00666    1:2020‐cv‐00667
1:2020‐cv‐00668   1:2020‐cv‐00669       1:2020‐cv‐00670    1:2020‐cv‐00672
1:2020‐cv‐00673   1:2020‐cv‐00674       1:2020‐cv‐00675    1:2020‐cv‐00676
1:2020‐cv‐00677   1:2020‐cv‐00679       1:2020‐cv‐00680    1:2020‐cv‐00681
1:2020‐cv‐00682   1:2020‐cv‐00683       1:2020‐cv‐00684    1:2020‐cv‐00685
1:2020‐cv‐00686   1:2020‐cv‐00687       1:2020‐cv‐00688    1:2020‐cv‐00689
1:2020‐cv‐00690   1:2020‐cv‐00691       1:2020‐cv‐00692    1:2020‐cv‐00693
1:2020‐cv‐00694   1:2020‐cv‐00695       1:2020‐cv‐00696    1:2020‐cv‐00697
1:2020‐cv‐00698   1:2020‐cv‐00699       1:2020‐cv‐00700    1:2020‐cv‐00701
1:2020‐cv‐00702   1:2020‐cv‐00703       1:2020‐cv‐00704    1:2020‐cv‐00705
1:2020‐cv‐00706   1:2020‐cv‐00707       1:2020‐cv‐00708    1:2020‐cv‐00709
1:2020‐cv‐00710   1:2020‐cv‐00711       1:2020‐cv‐00712    1:2020‐cv‐00713
1:2020‐cv‐00714   1:2020‐cv‐00715       1:2020‐cv‐00716    1:2020‐cv‐00717
1:2020‐cv‐00718   1:2020‐cv‐00719       1:2020‐cv‐00720    1:2020‐cv‐00721
1:2020‐cv‐00722   1:2020‐cv‐00723       1:2020‐cv‐00724    1:2020‐cv‐00725


                                    3
 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 8 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐00726   1:2020‐cv‐00727       1:2020‐cv‐00728    1:2020‐cv‐00729
1:2020‐cv‐00730   1:2020‐cv‐00731       1:2020‐cv‐00732    1:2020‐cv‐00733
1:2020‐cv‐00734   1:2020‐cv‐00735       1:2020‐cv‐00737    1:2020‐cv‐00738
1:2020‐cv‐00739   1:2020‐cv‐00740       1:2020‐cv‐00741    1:2020‐cv‐00742
1:2020‐cv‐00743   1:2020‐cv‐00744       1:2020‐cv‐00745    1:2020‐cv‐00747
1:2020‐cv‐00748   1:2020‐cv‐00750       1:2020‐cv‐00751    1:2020‐cv‐00752
1:2020‐cv‐00753   1:2020‐cv‐00754       1:2020‐cv‐00755    1:2020‐cv‐00756
1:2020‐cv‐00757   1:2020‐cv‐00758       1:2020‐cv‐00759    1:2020‐cv‐00760
1:2020‐cv‐00761   1:2020‐cv‐00762       1:2020‐cv‐00763    1:2020‐cv‐00764
1:2020‐cv‐00765   1:2020‐cv‐00766       1:2020‐cv‐00767    1:2020‐cv‐00768
1:2020‐cv‐00769   1:2020‐cv‐00770       1:2020‐cv‐00771    1:2020‐cv‐00772
1:2020‐cv‐00773   1:2020‐cv‐00774       1:2020‐cv‐00775    1:2020‐cv‐00776
1:2020‐cv‐00777   1:2020‐cv‐00778       1:2020‐cv‐00779    1:2020‐cv‐00780
1:2020‐cv‐00781   1:2020‐cv‐00782       1:2020‐cv‐00783    1:2020‐cv‐00784
1:2020‐cv‐00785   1:2020‐cv‐00786       1:2020‐cv‐00787    1:2020‐cv‐00789
1:2020‐cv‐00790   1:2020‐cv‐00791       1:2020‐cv‐00792    1:2020‐cv‐00793
1:2020‐cv‐00794   1:2020‐cv‐00795       1:2020‐cv‐00796    1:2020‐cv‐00797
1:2020‐cv‐00798   1:2020‐cv‐00799       1:2020‐cv‐00800    1:2020‐cv‐00801
1:2020‐cv‐00802   1:2020‐cv‐00803       1:2020‐cv‐00804    1:2020‐cv‐00805
1:2020‐cv‐00806   1:2020‐cv‐00807       1:2020‐cv‐00808    1:2020‐cv‐00809
1:2020‐cv‐00810   1:2020‐cv‐00811       1:2020‐cv‐00813    1:2020‐cv‐00814
1:2020‐cv‐00815   1:2020‐cv‐00816       1:2020‐cv‐00817    1:2020‐cv‐00818
1:2020‐cv‐00819   1:2020‐cv‐00820       1:2020‐cv‐00821    1:2020‐cv‐00822
1:2020‐cv‐00823   1:2020‐cv‐00824       1:2020‐cv‐00825    1:2020‐cv‐00826
1:2020‐cv‐00827   1:2020‐cv‐00828       1:2020‐cv‐00829    1:2020‐cv‐00830
1:2020‐cv‐00831   1:2020‐cv‐00832       1:2020‐cv‐00833    1:2020‐cv‐00834
1:2020‐cv‐00835   1:2020‐cv‐00836       1:2020‐cv‐00837    1:2020‐cv‐00838
1:2020‐cv‐00839   1:2020‐cv‐00840       1:2020‐cv‐00841    1:2020‐cv‐00842
1:2020‐cv‐00843   1:2020‐cv‐00844       1:2020‐cv‐00845    1:2020‐cv‐00846
1:2020‐cv‐00848   1:2020‐cv‐00849       1:2020‐cv‐00850    1:2020‐cv‐00851
1:2020‐cv‐00852   1:2020‐cv‐00853       1:2020‐cv‐00854    1:2020‐cv‐00855
1:2020‐cv‐00856   1:2020‐cv‐00857       1:2020‐cv‐00858    1:2020‐cv‐00859
1:2020‐cv‐00860   1:2020‐cv‐00861       1:2020‐cv‐00862    1:2020‐cv‐00863
1:2020‐cv‐00864   1:2020‐cv‐00865       1:2020‐cv‐00866    1:2020‐cv‐00867
1:2020‐cv‐00868   1:2020‐cv‐00869       1:2020‐cv‐00870    1:2020‐cv‐00871
1:2020‐cv‐00872   1:2020‐cv‐00873       1:2020‐cv‐00874    1:2020‐cv‐00875
1:2020‐cv‐00876   1:2020‐cv‐00877       1:2020‐cv‐00878    1:2020‐cv‐00879
1:2020‐cv‐00880   1:2020‐cv‐00881       1:2020‐cv‐00882    1:2020‐cv‐00883
1:2020‐cv‐00884   1:2020‐cv‐00885       1:2020‐cv‐00886    1:2020‐cv‐00887
1:2020‐cv‐00888   1:2020‐cv‐00889       1:2020‐cv‐00890    1:2020‐cv‐00891
1:2020‐cv‐00892   1:2020‐cv‐00893       1:2020‐cv‐00894    1:2020‐cv‐00895
1:2020‐cv‐00896   1:2020‐cv‐00897       1:2020‐cv‐00898    1:2020‐cv‐00899
1:2020‐cv‐00900   1:2020‐cv‐00901       1:2020‐cv‐00902    1:2020‐cv‐00903
1:2020‐cv‐00904   1:2020‐cv‐00905       1:2020‐cv‐00906    1:2020‐cv‐00907


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 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 9 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐00908   1:2020‐cv‐00909       1:2020‐cv‐00910    1:2020‐cv‐00911
1:2020‐cv‐00912   1:2020‐cv‐00913       1:2020‐cv‐00914    1:2020‐cv‐00915
1:2020‐cv‐00916   1:2020‐cv‐00917       1:2020‐cv‐00918    1:2020‐cv‐00919
1:2020‐cv‐00920   1:2020‐cv‐00921       1:2020‐cv‐00922    1:2020‐cv‐00923
1:2020‐cv‐00924   1:2020‐cv‐00925       1:2020‐cv‐00926    1:2020‐cv‐00927
1:2020‐cv‐00928   1:2020‐cv‐00929       1:2020‐cv‐00930    1:2020‐cv‐00931
1:2020‐cv‐00932   1:2020‐cv‐00933       1:2020‐cv‐00934    1:2020‐cv‐00935
1:2020‐cv‐00936   1:2020‐cv‐00937       1:2020‐cv‐00938    1:2020‐cv‐00939
1:2020‐cv‐00940   1:2020‐cv‐00941       1:2020‐cv‐00942    1:2020‐cv‐00943
1:2020‐cv‐00944   1:2020‐cv‐00945       1:2020‐cv‐00946    1:2020‐cv‐00947
1:2020‐cv‐00948   1:2020‐cv‐00949       1:2020‐cv‐00950    1:2020‐cv‐00951
1:2020‐cv‐00952   1:2020‐cv‐00953       1:2020‐cv‐00954    1:2020‐cv‐00955
1:2020‐cv‐00956   1:2020‐cv‐00957       1:2020‐cv‐00958    1:2020‐cv‐00960
1:2020‐cv‐00961   1:2020‐cv‐00962       1:2020‐cv‐00963    1:2020‐cv‐00964
1:2020‐cv‐00965   1:2020‐cv‐00966       1:2020‐cv‐00967    1:2020‐cv‐00968
1:2020‐cv‐00969   1:2020‐cv‐00970       1:2020‐cv‐00971    1:2020‐cv‐00972
1:2020‐cv‐00973   1:2020‐cv‐00974       1:2020‐cv‐00975    1:2020‐cv‐00976
1:2020‐cv‐00977   1:2020‐cv‐00978       1:2020‐cv‐00980    1:2020‐cv‐00981
1:2020‐cv‐00982   1:2020‐cv‐00983       1:2020‐cv‐00984    1:2020‐cv‐00985
1:2020‐cv‐00986   1:2020‐cv‐00987       1:2020‐cv‐00989    1:2020‐cv‐00990
1:2020‐cv‐00991   1:2020‐cv‐00992       1:2020‐cv‐00993    1:2020‐cv‐00994
1:2020‐cv‐00995   1:2020‐cv‐00996       1:2020‐cv‐00997    1:2020‐cv‐00998
1:2020‐cv‐00999   1:2020‐cv‐01000       1:2020‐cv‐01001    1:2020‐cv‐01002
1:2020‐cv‐01003   1:2020‐cv‐01004       1:2020‐cv‐01005    1:2020‐cv‐01006
1:2020‐cv‐01007   1:2020‐cv‐01008       1:2020‐cv‐01009    1:2020‐cv‐01010
1:2020‐cv‐01011   1:2020‐cv‐01012       1:2020‐cv‐01013    1:2020‐cv‐01015
1:2020‐cv‐01016   1:2020‐cv‐01017       1:2020‐cv‐01018    1:2020‐cv‐01019
1:2020‐cv‐01020   1:2020‐cv‐01021       1:2020‐cv‐01022    1:2020‐cv‐01023
1:2020‐cv‐01024   1:2020‐cv‐01025       1:2020‐cv‐01026    1:2020‐cv‐01027
1:2020‐cv‐01028   1:2020‐cv‐01029       1:2020‐cv‐01030    1:2020‐cv‐01031
1:2020‐cv‐01032   1:2020‐cv‐01033       1:2020‐cv‐01034    1:2020‐cv‐01035
1:2020‐cv‐01036   1:2020‐cv‐01037       1:2020‐cv‐01038    1:2020‐cv‐01039
1:2020‐cv‐01040   1:2020‐cv‐01041       1:2020‐cv‐01042    1:2020‐cv‐01043
1:2020‐cv‐01044   1:2020‐cv‐01045       1:2020‐cv‐01046    1:2020‐cv‐01047
1:2020‐cv‐01048   1:2020‐cv‐01049       1:2020‐cv‐01050    1:2020‐cv‐01051
1:2020‐cv‐01052   1:2020‐cv‐01053       1:2020‐cv‐01054    1:2020‐cv‐01055
1:2020‐cv‐01056   1:2020‐cv‐01057       1:2020‐cv‐01058    1:2020‐cv‐01059
1:2020‐cv‐01060   1:2020‐cv‐01061       1:2020‐cv‐01062    1:2020‐cv‐01063
1:2020‐cv‐01064   1:2020‐cv‐01065       1:2020‐cv‐01066    1:2020‐cv‐01067
1:2020‐cv‐01068   1:2020‐cv‐01069       1:2020‐cv‐01070    1:2020‐cv‐01071
1:2020‐cv‐01072   1:2020‐cv‐01073       1:2020‐cv‐01074    1:2020‐cv‐01075
1:2020‐cv‐01076   1:2020‐cv‐01077       1:2020‐cv‐01078    1:2020‐cv‐01080
1:2020‐cv‐01081   1:2020‐cv‐01082       1:2020‐cv‐01083    1:2020‐cv‐01084
1:2020‐cv‐01085   1:2020‐cv‐01086       1:2020‐cv‐01087    1:2020‐cv‐01088


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 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 10 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐01089   1:2020‐cv‐01091       1:2020‐cv‐01092     1:2020‐cv‐01093
1:2020‐cv‐01094   1:2020‐cv‐01095       1:2020‐cv‐01096     1:2020‐cv‐01097
1:2020‐cv‐01098   1:2020‐cv‐01099       1:2020‐cv‐01100     1:2020‐cv‐01101
1:2020‐cv‐01102   1:2020‐cv‐01103       1:2020‐cv‐01105     1:2020‐cv‐01106
1:2020‐cv‐01107   1:2020‐cv‐01108       1:2020‐cv‐01109     1:2020‐cv‐01110
1:2020‐cv‐01111   1:2020‐cv‐01112       1:2020‐cv‐01113     1:2020‐cv‐01114
1:2020‐cv‐01115   1:2020‐cv‐01116       1:2020‐cv‐01117     1:2020‐cv‐01118
1:2020‐cv‐01119   1:2020‐cv‐01120       1:2020‐cv‐01121     1:2020‐cv‐01122
1:2020‐cv‐01123   1:2020‐cv‐01124       1:2020‐cv‐01125     1:2020‐cv‐01126
1:2020‐cv‐01127   1:2020‐cv‐01128       1:2020‐cv‐01129     1:2020‐cv‐01130
1:2020‐cv‐01131   1:2020‐cv‐01132       1:2020‐cv‐01133     1:2020‐cv‐01134
1:2020‐cv‐01135   1:2020‐cv‐01136       1:2020‐cv‐01137     1:2020‐cv‐01138
1:2020‐cv‐01139   1:2020‐cv‐01140       1:2020‐cv‐01141     1:2020‐cv‐01142
1:2020‐cv‐01143   1:2020‐cv‐01144       1:2020‐cv‐01145     1:2020‐cv‐01146
1:2020‐cv‐01147   1:2020‐cv‐01148       1:2020‐cv‐01149     1:2020‐cv‐01150
1:2020‐cv‐01151   1:2020‐cv‐01152       1:2020‐cv‐01153     1:2020‐cv‐01154
1:2020‐cv‐01155   1:2020‐cv‐01156       1:2020‐cv‐01157     1:2020‐cv‐01158
1:2020‐cv‐01159   1:2020‐cv‐01160       1:2020‐cv‐01161     1:2020‐cv‐01162
1:2020‐cv‐01163   1:2020‐cv‐01164       1:2020‐cv‐01165     1:2020‐cv‐01166
1:2020‐cv‐01167   1:2020‐cv‐01168       1:2020‐cv‐01169     1:2020‐cv‐01170
1:2020‐cv‐01171   1:2020‐cv‐01172       1:2020‐cv‐01173     1:2020‐cv‐01174
1:2020‐cv‐01175   1:2020‐cv‐01176       1:2020‐cv‐01177     1:2020‐cv‐01178
1:2020‐cv‐01179   1:2020‐cv‐01180       1:2020‐cv‐01181     1:2020‐cv‐01182
1:2020‐cv‐01183   1:2020‐cv‐01184       1:2020‐cv‐01185     1:2020‐cv‐01186
1:2020‐cv‐01187   1:2020‐cv‐01188       1:2020‐cv‐01189     1:2020‐cv‐01190
1:2020‐cv‐01191   1:2020‐cv‐01192       1:2020‐cv‐01193     1:2020‐cv‐01194
1:2020‐cv‐01195   1:2020‐cv‐01196       1:2020‐cv‐01197     1:2020‐cv‐01198
1:2020‐cv‐01199   1:2020‐cv‐01200       1:2020‐cv‐01201     1:2020‐cv‐01202
1:2020‐cv‐01203   1:2020‐cv‐01204       1:2020‐cv‐01205     1:2020‐cv‐01206
1:2020‐cv‐01207   1:2020‐cv‐01208       1:2020‐cv‐01209     1:2020‐cv‐01210
1:2020‐cv‐01211   1:2020‐cv‐01212       1:2020‐cv‐01213     1:2020‐cv‐01214
1:2020‐cv‐01215   1:2020‐cv‐01216       1:2020‐cv‐01217     1:2020‐cv‐01218
1:2020‐cv‐01219   1:2020‐cv‐01220       1:2020‐cv‐01221     1:2020‐cv‐01222
1:2020‐cv‐01223   1:2020‐cv‐01224       1:2020‐cv‐01226     1:2020‐cv‐01227
1:2020‐cv‐01228   1:2020‐cv‐01229       1:2020‐cv‐01230     1:2020‐cv‐01231
1:2020‐cv‐01232   1:2020‐cv‐01233       1:2020‐cv‐01234     1:2020‐cv‐01235
1:2020‐cv‐01236   1:2020‐cv‐01237       1:2020‐cv‐01238     1:2020‐cv‐01239
1:2020‐cv‐01240   1:2020‐cv‐01241       1:2020‐cv‐01242     1:2020‐cv‐01243
1:2020‐cv‐01244   1:2020‐cv‐01245       1:2020‐cv‐01246     1:2020‐cv‐01247
1:2020‐cv‐01248   1:2020‐cv‐01249       1:2020‐cv‐01250     1:2020‐cv‐01251
1:2020‐cv‐01252   1:2020‐cv‐01253       1:2020‐cv‐01254     1:2020‐cv‐01255
1:2020‐cv‐01256   1:2020‐cv‐01257       1:2020‐cv‐01258     1:2020‐cv‐01259
1:2020‐cv‐01261   1:2020‐cv‐01262       1:2020‐cv‐01263     1:2020‐cv‐01264
1:2020‐cv‐01265   1:2020‐cv‐01266       1:2020‐cv‐01267     1:2020‐cv‐01268


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 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 11 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐01269   1:2020‐cv‐01270       1:2020‐cv‐01271     1:2020‐cv‐01272
1:2020‐cv‐01274   1:2020‐cv‐01275       1:2020‐cv‐01276     1:2020‐cv‐01277
1:2020‐cv‐01278   1:2020‐cv‐01279       1:2020‐cv‐01280     1:2020‐cv‐01281
1:2020‐cv‐01282   1:2020‐cv‐01283       1:2020‐cv‐01284     1:2020‐cv‐01285
1:2020‐cv‐01286   1:2020‐cv‐01287       1:2020‐cv‐01288     1:2020‐cv‐01289
1:2020‐cv‐01290   1:2020‐cv‐01291       1:2020‐cv‐01292     1:2020‐cv‐01293
1:2020‐cv‐01294   1:2020‐cv‐01295       1:2020‐cv‐01296     1:2020‐cv‐01297
1:2020‐cv‐01298   1:2020‐cv‐01299       1:2020‐cv‐01300     1:2020‐cv‐01301
1:2020‐cv‐01303   1:2020‐cv‐01304       1:2020‐cv‐01305     1:2020‐cv‐01306
1:2020‐cv‐01307   1:2020‐cv‐01308       1:2020‐cv‐01309     1:2020‐cv‐01310
1:2020‐cv‐01311   1:2020‐cv‐01312       1:2020‐cv‐01313     1:2020‐cv‐01314
1:2020‐cv‐01315   1:2020‐cv‐01316       1:2020‐cv‐01317     1:2020‐cv‐01318
1:2020‐cv‐01319   1:2020‐cv‐01320       1:2020‐cv‐01321     1:2020‐cv‐01322
1:2020‐cv‐01323   1:2020‐cv‐01324       1:2020‐cv‐01325     1:2020‐cv‐01326
1:2020‐cv‐01327   1:2020‐cv‐01328       1:2020‐cv‐01329     1:2020‐cv‐01330
1:2020‐cv‐01331   1:2020‐cv‐01332       1:2020‐cv‐01333     1:2020‐cv‐01334
1:2020‐cv‐01335   1:2020‐cv‐01336       1:2020‐cv‐01337     1:2020‐cv‐01338
1:2020‐cv‐01339   1:2020‐cv‐01341       1:2020‐cv‐01342     1:2020‐cv‐01343
1:2020‐cv‐01344   1:2020‐cv‐01345       1:2020‐cv‐01346     1:2020‐cv‐01347
1:2020‐cv‐01348   1:2020‐cv‐01349       1:2020‐cv‐01350     1:2020‐cv‐01351
1:2020‐cv‐01352   1:2020‐cv‐01353       1:2020‐cv‐01354     1:2020‐cv‐01355
1:2020‐cv‐01356   1:2020‐cv‐01357       1:2020‐cv‐01358     1:2020‐cv‐01359
1:2020‐cv‐01360   1:2020‐cv‐01361       1:2020‐cv‐01362     1:2020‐cv‐01363
1:2020‐cv‐01364   1:2020‐cv‐01365       1:2020‐cv‐01366     1:2020‐cv‐01368
1:2020‐cv‐01369   1:2020‐cv‐01370       1:2020‐cv‐01371     1:2020‐cv‐01372
1:2020‐cv‐01374   1:2020‐cv‐01375       1:2020‐cv‐01376     1:2020‐cv‐01377
1:2020‐cv‐01378   1:2020‐cv‐01379       1:2020‐cv‐01380     1:2020‐cv‐01382
1:2020‐cv‐01383   1:2020‐cv‐01384       1:2020‐cv‐01385     1:2020‐cv‐01386
1:2020‐cv‐01387   1:2020‐cv‐01388       1:2020‐cv‐01389     1:2020‐cv‐01390
1:2020‐cv‐01391   1:2020‐cv‐01392       1:2020‐cv‐01393     1:2020‐cv‐01394
1:2020‐cv‐01395   1:2020‐cv‐01396       1:2020‐cv‐01397     1:2020‐cv‐01399
1:2020‐cv‐01400   1:2020‐cv‐01401       1:2020‐cv‐01402     1:2020‐cv‐01403
1:2020‐cv‐01404   1:2020‐cv‐01405       1:2020‐cv‐01406     1:2020‐cv‐01407
1:2020‐cv‐01408   1:2020‐cv‐01409       1:2020‐cv‐01410     1:2020‐cv‐01411
1:2020‐cv‐01412   1:2020‐cv‐01413       1:2020‐cv‐01414     1:2020‐cv‐01415
1:2020‐cv‐01416   1:2020‐cv‐01417       1:2020‐cv‐01418     1:2020‐cv‐01419
1:2020‐cv‐01420   1:2020‐cv‐01421       1:2020‐cv‐01422     1:2020‐cv‐01423
1:2020‐cv‐01424   1:2020‐cv‐01425       1:2020‐cv‐01426     1:2020‐cv‐01427
1:2020‐cv‐01428   1:2020‐cv‐01429       1:2020‐cv‐01430     1:2020‐cv‐01431
1:2020‐cv‐01432   1:2020‐cv‐01433       1:2020‐cv‐01434     1:2020‐cv‐01435
1:2020‐cv‐01436   1:2020‐cv‐01437       1:2020‐cv‐01438     1:2020‐cv‐01439
1:2020‐cv‐01440   1:2020‐cv‐01441       1:2020‐cv‐01442     1:2020‐cv‐01443
1:2020‐cv‐01444   1:2020‐cv‐01445       1:2020‐cv‐01446     1:2020‐cv‐01447
1:2020‐cv‐01448   1:2020‐cv‐01449       1:2020‐cv‐01450     1:2020‐cv‐01451


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 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 12 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐01452   1:2020‐cv‐01453       1:2020‐cv‐01454     1:2020‐cv‐01455
1:2020‐cv‐01456   1:2020‐cv‐01457       1:2020‐cv‐01458     1:2020‐cv‐01460
1:2020‐cv‐01461   1:2020‐cv‐01462       1:2020‐cv‐01463     1:2020‐cv‐01464
1:2020‐cv‐01465   1:2020‐cv‐01466       1:2020‐cv‐01467     1:2020‐cv‐01468
1:2020‐cv‐01470   1:2020‐cv‐01471       1:2020‐cv‐01472     1:2020‐cv‐01473
1:2020‐cv‐01474   1:2020‐cv‐01475       1:2020‐cv‐01476     1:2020‐cv‐01477
1:2020‐cv‐01478   1:2020‐cv‐01479       1:2020‐cv‐01480     1:2020‐cv‐01481
1:2020‐cv‐01482   1:2020‐cv‐01484       1:2020‐cv‐01485     1:2020‐cv‐01486
1:2020‐cv‐01487   1:2020‐cv‐01488       1:2020‐cv‐01489     1:2020‐cv‐01491
1:2020‐cv‐01492   1:2020‐cv‐01493       1:2020‐cv‐01494     1:2020‐cv‐01495
1:2020‐cv‐01496   1:2020‐cv‐01497       1:2020‐cv‐01498     1:2020‐cv‐01499
1:2020‐cv‐01500   1:2020‐cv‐01502       1:2020‐cv‐01503     1:2020‐cv‐01504
1:2020‐cv‐01505   1:2020‐cv‐01506       1:2020‐cv‐01507     1:2020‐cv‐01508
1:2020‐cv‐01509   1:2020‐cv‐01510       1:2020‐cv‐01511     1:2020‐cv‐01512
1:2020‐cv‐01513   1:2020‐cv‐01514       1:2020‐cv‐01515     1:2020‐cv‐01516
1:2020‐cv‐01517   1:2020‐cv‐01518       1:2020‐cv‐01519     1:2020‐cv‐01520
1:2020‐cv‐01522   1:2020‐cv‐01523       1:2020‐cv‐01524     1:2020‐cv‐01526
1:2020‐cv‐01527   1:2020‐cv‐01528       1:2020‐cv‐01529     1:2020‐cv‐01530
1:2020‐cv‐01531   1:2020‐cv‐01532       1:2020‐cv‐01533     1:2020‐cv‐01534
1:2020‐cv‐01535   1:2020‐cv‐01536       1:2020‐cv‐01537     1:2020‐cv‐01538
1:2020‐cv‐01539   1:2020‐cv‐01540       1:2020‐cv‐01541     1:2020‐cv‐01542
1:2020‐cv‐01543   1:2020‐cv‐01544       1:2020‐cv‐01545     1:2020‐cv‐01546
1:2020‐cv‐01547   1:2020‐cv‐01548       1:2020‐cv‐01549     1:2020‐cv‐01550
1:2020‐cv‐01551   1:2020‐cv‐01552       1:2020‐cv‐01553     1:2020‐cv‐01554
1:2020‐cv‐01555   1:2020‐cv‐01556       1:2020‐cv‐01557     1:2020‐cv‐01558
1:2020‐cv‐01559   1:2020‐cv‐01560       1:2020‐cv‐01561     1:2020‐cv‐01562
1:2020‐cv‐01563   1:2020‐cv‐01564       1:2020‐cv‐01565     1:2020‐cv‐01566
1:2020‐cv‐01567   1:2020‐cv‐01568       1:2020‐cv‐01569     1:2020‐cv‐01570
1:2020‐cv‐01571   1:2020‐cv‐01572       1:2020‐cv‐01573     1:2020‐cv‐01574
1:2020‐cv‐01575   1:2020‐cv‐01576       1:2020‐cv‐01577     1:2020‐cv‐01578
1:2020‐cv‐01579   1:2020‐cv‐01580       1:2020‐cv‐01581     1:2020‐cv‐01582
1:2020‐cv‐01583   1:2020‐cv‐01584       1:2020‐cv‐01585     1:2020‐cv‐01586
1:2020‐cv‐01587   1:2020‐cv‐01588       1:2020‐cv‐01589     1:2020‐cv‐01590
1:2020‐cv‐01591   1:2020‐cv‐01592       1:2020‐cv‐01593     1:2020‐cv‐01594
1:2020‐cv‐01596   1:2020‐cv‐01597       1:2020‐cv‐01598     1:2020‐cv‐01599
1:2020‐cv‐01600   1:2020‐cv‐01601       1:2020‐cv‐01602     1:2020‐cv‐01603
1:2020‐cv‐01604   1:2020‐cv‐01605       1:2020‐cv‐01606     1:2020‐cv‐01608
1:2020‐cv‐01609   1:2020‐cv‐01610       1:2020‐cv‐01611     1:2020‐cv‐01612
1:2020‐cv‐01613   1:2020‐cv‐01614       1:2020‐cv‐01615     1:2020‐cv‐01616
1:2020‐cv‐01617   1:2020‐cv‐01618       1:2020‐cv‐01619     1:2020‐cv‐01622
1:2020‐cv‐01623   1:2020‐cv‐01624       1:2020‐cv‐01625     1:2020‐cv‐01626
1:2020‐cv‐01627   1:2020‐cv‐01629       1:2020‐cv‐01630     1:2020‐cv‐01631
1:2020‐cv‐01632   1:2020‐cv‐01633       1:2020‐cv‐01634     1:2020‐cv‐01635
1:2020‐cv‐01636   1:2020‐cv‐01637       1:2020‐cv‐01638     1:2020‐cv‐01639


                                    8
 Case 1:20-cv-03412-3JP Document 8        Filed 02/10/21   Page 13 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐01640   1:2020‐cv‐01641       1:2020‐cv‐01642     1:2020‐cv‐01644
1:2020‐cv‐01645   1:2020‐cv‐01646       1:2020‐cv‐01647     1:2020‐cv‐01648
1:2020‐cv‐01649   1:2020‐cv‐01650       1:2020‐cv‐01651     1:2020‐cv‐01652
1:2020‐cv‐01653   1:2020‐cv‐01654       1:2020‐cv‐01655     1:2020‐cv‐01656
1:2020‐cv‐01657   1:2020‐cv‐01658       1:2020‐cv‐01659     1:2020‐cv‐01660
1:2020‐cv‐01661   1:2020‐cv‐01662       1:2020‐cv‐01663     1:2020‐cv‐01664
1:2020‐cv‐01665   1:2020‐cv‐01666       1:2020‐cv‐01667     1:2020‐cv‐01668
1:2020‐cv‐01669   1:2020‐cv‐01671       1:2020‐cv‐01672     1:2020‐cv‐01673
1:2020‐cv‐01674   1:2020‐cv‐01675       1:2020‐cv‐01676     1:2020‐cv‐01677
1:2020‐cv‐01678   1:2020‐cv‐01679       1:2020‐cv‐01680     1:2020‐cv‐01681
1:2020‐cv‐01682   1:2020‐cv‐01683       1:2020‐cv‐01684     1:2020‐cv‐01685
1:2020‐cv‐01686   1:2020‐cv‐01687       1:2020‐cv‐01688     1:2020‐cv‐01689
1:2020‐cv‐01691   1:2020‐cv‐01692       1:2020‐cv‐01693     1:2020‐cv‐01694
1:2020‐cv‐01695   1:2020‐cv‐01696       1:2020‐cv‐01697     1:2020‐cv‐01698
1:2020‐cv‐01699   1:2020‐cv‐01700       1:2020‐cv‐01701     1:2020‐cv‐01702
1:2020‐cv‐01703   1:2020‐cv‐01704       1:2020‐cv‐01706     1:2020‐cv‐01707
1:2020‐cv‐01708   1:2020‐cv‐01709       1:2020‐cv‐01710     1:2020‐cv‐01711
1:2020‐cv‐01712   1:2020‐cv‐01713       1:2020‐cv‐01714     1:2020‐cv‐01715
1:2020‐cv‐01716   1:2020‐cv‐01717       1:2020‐cv‐01719     1:2020‐cv‐01720
1:2020‐cv‐01721   1:2020‐cv‐01722       1:2020‐cv‐01723     1:2020‐cv‐01724
1:2020‐cv‐01725   1:2020‐cv‐01726       1:2020‐cv‐01727     1:2020‐cv‐01728
1:2020‐cv‐01729   1:2020‐cv‐01730       1:2020‐cv‐01731     1:2020‐cv‐01732
1:2020‐cv‐01733   1:2020‐cv‐01734       1:2020‐cv‐01735     1:2020‐cv‐01736
1:2020‐cv‐01737   1:2020‐cv‐01738       1:2020‐cv‐01739     1:2020‐cv‐01740
1:2020‐cv‐01741   1:2020‐cv‐01742       1:2020‐cv‐01743     1:2020‐cv‐01744
1:2020‐cv‐01745   1:2020‐cv‐01746       1:2020‐cv‐01747     1:2020‐cv‐01748
1:2020‐cv‐01749   1:2020‐cv‐01750       1:2020‐cv‐01751     1:2020‐cv‐01752
1:2020‐cv‐01753   1:2020‐cv‐01754       1:2020‐cv‐01755     1:2020‐cv‐01756
1:2020‐cv‐01757   1:2020‐cv‐01758       1:2020‐cv‐01759     1:2020‐cv‐01760
1:2020‐cv‐01761   1:2020‐cv‐01762       1:2020‐cv‐01763     1:2020‐cv‐01764
1:2020‐cv‐01765   1:2020‐cv‐01766       1:2020‐cv‐01767     1:2020‐cv‐01768
1:2020‐cv‐01769   1:2020‐cv‐01770       1:2020‐cv‐01771     1:2020‐cv‐01772
1:2020‐cv‐01773   1:2020‐cv‐01774       1:2020‐cv‐01775     1:2020‐cv‐01776
1:2020‐cv‐01777   1:2020‐cv‐01778       1:2020‐cv‐01779     1:2020‐cv‐01780
1:2020‐cv‐01781   1:2020‐cv‐01782       1:2020‐cv‐01783     1:2020‐cv‐01784
1:2020‐cv‐01785   1:2020‐cv‐01786       1:2020‐cv‐01787     1:2020‐cv‐01788
1:2020‐cv‐01789   1:2020‐cv‐01790       1:2020‐cv‐01791     1:2020‐cv‐01792
1:2020‐cv‐01793   1:2020‐cv‐01794       1:2020‐cv‐01795     1:2020‐cv‐01796
1:2020‐cv‐01797   1:2020‐cv‐01798       1:2020‐cv‐01799     1:2020‐cv‐01800
1:2020‐cv‐01801   1:2020‐cv‐01802       1:2020‐cv‐01803     1:2020‐cv‐01804
1:2020‐cv‐01805   1:2020‐cv‐01806       1:2020‐cv‐01807     1:2020‐cv‐01808
1:2020‐cv‐01809   1:2020‐cv‐01810       1:2020‐cv‐01811     1:2020‐cv‐01812
1:2020‐cv‐01813   1:2020‐cv‐01814       1:2020‐cv‐01815     1:2020‐cv‐01816
1:2020‐cv‐01817   1:2020‐cv‐01818       1:2020‐cv‐01819     1:2020‐cv‐01820


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 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 14 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐01821   1:2020‐cv‐01822        1:2020‐cv‐01823     1:2020‐cv‐01825
1:2020‐cv‐01827   1:2020‐cv‐01828        1:2020‐cv‐01829     1:2020‐cv‐01830
1:2020‐cv‐01831   1:2020‐cv‐01832        1:2020‐cv‐01833     1:2020‐cv‐01834
1:2020‐cv‐01835   1:2020‐cv‐01836        1:2020‐cv‐01838     1:2020‐cv‐01839
1:2020‐cv‐01840   1:2020‐cv‐01841        1:2020‐cv‐01843     1:2020‐cv‐01844
1:2020‐cv‐01845   1:2020‐cv‐01846        1:2020‐cv‐01847     1:2020‐cv‐01848
1:2020‐cv‐01849   1:2020‐cv‐01850        1:2020‐cv‐01851     1:2020‐cv‐01852
1:2020‐cv‐01853   1:2020‐cv‐01854        1:2020‐cv‐01855     1:2020‐cv‐01856
1:2020‐cv‐01857   1:2020‐cv‐01858        1:2020‐cv‐01859     1:2020‐cv‐01860
1:2020‐cv‐01861   1:2020‐cv‐01862        1:2020‐cv‐01863     1:2020‐cv‐01864
1:2020‐cv‐01865   1:2020‐cv‐01866        1:2020‐cv‐01867     1:2020‐cv‐01868
1:2020‐cv‐01869   1:2020‐cv‐01870        1:2020‐cv‐01871     1:2020‐cv‐01872
1:2020‐cv‐01874   1:2020‐cv‐01875        1:2020‐cv‐01876     1:2020‐cv‐01878
1:2020‐cv‐01879   1:2020‐cv‐01880        1:2020‐cv‐01881     1:2020‐cv‐01882
1:2020‐cv‐01883   1:2020‐cv‐01884        1:2020‐cv‐01885     1:2020‐cv‐01886
1:2020‐cv‐01887   1:2020‐cv‐01888        1:2020‐cv‐01889     1:2020‐cv‐01890
1:2020‐cv‐01891   1:2020‐cv‐01892        1:2020‐cv‐01893     1:2020‐cv‐01894
1:2020‐cv‐01895   1:2020‐cv‐01896        1:2020‐cv‐01897     1:2020‐cv‐01898
1:2020‐cv‐01899   1:2020‐cv‐01900        1:2020‐cv‐01901     1:2020‐cv‐01902
1:2020‐cv‐01903   1:2020‐cv‐01904        1:2020‐cv‐01905     1:2020‐cv‐01906
1:2020‐cv‐01907   1:2020‐cv‐01908        1:2020‐cv‐01909     1:2020‐cv‐01910
1:2020‐cv‐01911   1:2020‐cv‐01912        1:2020‐cv‐01913     1:2020‐cv‐01914
1:2020‐cv‐01915   1:2020‐cv‐01917        1:2020‐cv‐01918     1:2020‐cv‐01919
1:2020‐cv‐01920   1:2020‐cv‐01921        1:2020‐cv‐01922     1:2020‐cv‐01923
1:2020‐cv‐01924   1:2020‐cv‐01925        1:2020‐cv‐01926     1:2020‐cv‐01927
1:2020‐cv‐01928   1:2020‐cv‐01929        1:2020‐cv‐01930     1:2020‐cv‐01931
1:2020‐cv‐01932   1:2020‐cv‐01933        1:2020‐cv‐01934     1:2020‐cv‐01935
1:2020‐cv‐01936   1:2020‐cv‐01937        1:2020‐cv‐01938     1:2020‐cv‐01939
1:2020‐cv‐01940   1:2020‐cv‐01941        1:2020‐cv‐01942     1:2020‐cv‐01943
1:2020‐cv‐01944   1:2020‐cv‐01945        1:2020‐cv‐01946     1:2020‐cv‐01947
1:2020‐cv‐01948   1:2020‐cv‐01949        1:2020‐cv‐01950     1:2020‐cv‐01951
1:2020‐cv‐01952   1:2020‐cv‐01953        1:2020‐cv‐01954     1:2020‐cv‐01955
1:2020‐cv‐01956   1:2020‐cv‐01957        1:2020‐cv‐01958     1:2020‐cv‐01959
1:2020‐cv‐01960   1:2020‐cv‐01961        1:2020‐cv‐01962     1:2020‐cv‐01963
1:2020‐cv‐01964   1:2020‐cv‐01965        1:2020‐cv‐01966     1:2020‐cv‐01967
1:2020‐cv‐01968   1:2020‐cv‐01969        1:2020‐cv‐01970     1:2020‐cv‐01971
1:2020‐cv‐01972   1:2020‐cv‐01973        1:2020‐cv‐01974     1:2020‐cv‐01975
1:2020‐cv‐01976   1:2020‐cv‐01977        1:2020‐cv‐01978     1:2020‐cv‐01979
1:2020‐cv‐01980   1:2020‐cv‐01981        1:2020‐cv‐01982     1:2020‐cv‐01983
1:2020‐cv‐01984   1:2020‐cv‐01985        1:2020‐cv‐01986     1:2020‐cv‐01987
1:2020‐cv‐01988   1:2020‐cv‐01989        1:2020‐cv‐01990     1:2020‐cv‐01991
1:2020‐cv‐01992   1:2020‐cv‐01993        1:2020‐cv‐01994     1:2020‐cv‐01995
1:2020‐cv‐01996   1:2020‐cv‐01997        1:2020‐cv‐01998     1:2020‐cv‐01999
1:2020‐cv‐02000   1:2020‐cv‐02001        1:2020‐cv‐02002     1:2020‐cv‐02005


                                    10
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 15 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02006   1:2020‐cv‐02007        1:2020‐cv‐02008     1:2020‐cv‐02009
1:2020‐cv‐02010   1:2020‐cv‐02011        1:2020‐cv‐02012     1:2020‐cv‐02013
1:2020‐cv‐02014   1:2020‐cv‐02015        1:2020‐cv‐02016     1:2020‐cv‐02017
1:2020‐cv‐02018   1:2020‐cv‐02019        1:2020‐cv‐02020     1:2020‐cv‐02021
1:2020‐cv‐02022   1:2020‐cv‐02023        1:2020‐cv‐02024     1:2020‐cv‐02026
1:2020‐cv‐02027   1:2020‐cv‐02028        1:2020‐cv‐02029     1:2020‐cv‐02030
1:2020‐cv‐02031   1:2020‐cv‐02032        1:2020‐cv‐02033     1:2020‐cv‐02034
1:2020‐cv‐02035   1:2020‐cv‐02036        1:2020‐cv‐02038     1:2020‐cv‐02039
1:2020‐cv‐02040   1:2020‐cv‐02041        1:2020‐cv‐02042     1:2020‐cv‐02043
1:2020‐cv‐02044   1:2020‐cv‐02045        1:2020‐cv‐02046     1:2020‐cv‐02047
1:2020‐cv‐02048   1:2020‐cv‐02049        1:2020‐cv‐02050     1:2020‐cv‐02051
1:2020‐cv‐02052   1:2020‐cv‐02053        1:2020‐cv‐02054     1:2020‐cv‐02055
1:2020‐cv‐02056   1:2020‐cv‐02057        1:2020‐cv‐02058     1:2020‐cv‐02059
1:2020‐cv‐02060   1:2020‐cv‐02061        1:2020‐cv‐02062     1:2020‐cv‐02063
1:2020‐cv‐02064   1:2020‐cv‐02065        1:2020‐cv‐02066     1:2020‐cv‐02067
1:2020‐cv‐02068   1:2020‐cv‐02069        1:2020‐cv‐02070     1:2020‐cv‐02072
1:2020‐cv‐02073   1:2020‐cv‐02074        1:2020‐cv‐02075     1:2020‐cv‐02076
1:2020‐cv‐02077   1:2020‐cv‐02078        1:2020‐cv‐02079     1:2020‐cv‐02080
1:2020‐cv‐02081   1:2020‐cv‐02082        1:2020‐cv‐02083     1:2020‐cv‐02084
1:2020‐cv‐02085   1:2020‐cv‐02086        1:2020‐cv‐02087     1:2020‐cv‐02088
1:2020‐cv‐02089   1:2020‐cv‐02090        1:2020‐cv‐02091     1:2020‐cv‐02092
1:2020‐cv‐02093   1:2020‐cv‐02094        1:2020‐cv‐02095     1:2020‐cv‐02096
1:2020‐cv‐02097   1:2020‐cv‐02098        1:2020‐cv‐02099     1:2020‐cv‐02100
1:2020‐cv‐02101   1:2020‐cv‐02102        1:2020‐cv‐02103     1:2020‐cv‐02104
1:2020‐cv‐02105   1:2020‐cv‐02106        1:2020‐cv‐02107     1:2020‐cv‐02108
1:2020‐cv‐02110   1:2020‐cv‐02111        1:2020‐cv‐02112     1:2020‐cv‐02114
1:2020‐cv‐02115   1:2020‐cv‐02116        1:2020‐cv‐02117     1:2020‐cv‐02118
1:2020‐cv‐02119   1:2020‐cv‐02120        1:2020‐cv‐02121     1:2020‐cv‐02122
1:2020‐cv‐02123   1:2020‐cv‐02124        1:2020‐cv‐02125     1:2020‐cv‐02126
1:2020‐cv‐02127   1:2020‐cv‐02128        1:2020‐cv‐02129     1:2020‐cv‐02131
1:2020‐cv‐02132   1:2020‐cv‐02133        1:2020‐cv‐02134     1:2020‐cv‐02135
1:2020‐cv‐02136   1:2020‐cv‐02137        1:2020‐cv‐02138     1:2020‐cv‐02139
1:2020‐cv‐02140   1:2020‐cv‐02141        1:2020‐cv‐02142     1:2020‐cv‐02143
1:2020‐cv‐02144   1:2020‐cv‐02145        1:2020‐cv‐02146     1:2020‐cv‐02147
1:2020‐cv‐02148   1:2020‐cv‐02149        1:2020‐cv‐02150     1:2020‐cv‐02151
1:2020‐cv‐02152   1:2020‐cv‐02153        1:2020‐cv‐02154     1:2020‐cv‐02155
1:2020‐cv‐02156   1:2020‐cv‐02157        1:2020‐cv‐02158     1:2020‐cv‐02160
1:2020‐cv‐02161   1:2020‐cv‐02162        1:2020‐cv‐02163     1:2020‐cv‐02164
1:2020‐cv‐02165   1:2020‐cv‐02166        1:2020‐cv‐02167     1:2020‐cv‐02168
1:2020‐cv‐02169   1:2020‐cv‐02170        1:2020‐cv‐02171     1:2020‐cv‐02172
1:2020‐cv‐02173   1:2020‐cv‐02174        1:2020‐cv‐02175     1:2020‐cv‐02176
1:2020‐cv‐02177   1:2020‐cv‐02178        1:2020‐cv‐02179     1:2020‐cv‐02180
1:2020‐cv‐02181   1:2020‐cv‐02182        1:2020‐cv‐02183     1:2020‐cv‐02184
1:2020‐cv‐02185   1:2020‐cv‐02186        1:2020‐cv‐02187     1:2020‐cv‐02188


                                    11
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 16 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02189   1:2020‐cv‐02190        1:2020‐cv‐02191     1:2020‐cv‐02192
1:2020‐cv‐02193   1:2020‐cv‐02194        1:2020‐cv‐02195     1:2020‐cv‐02196
1:2020‐cv‐02197   1:2020‐cv‐02198        1:2020‐cv‐02199     1:2020‐cv‐02200
1:2020‐cv‐02201   1:2020‐cv‐02202        1:2020‐cv‐02203     1:2020‐cv‐02204
1:2020‐cv‐02205   1:2020‐cv‐02206        1:2020‐cv‐02207     1:2020‐cv‐02208
1:2020‐cv‐02209   1:2020‐cv‐02210        1:2020‐cv‐02211     1:2020‐cv‐02212
1:2020‐cv‐02213   1:2020‐cv‐02214        1:2020‐cv‐02215     1:2020‐cv‐02216
1:2020‐cv‐02217   1:2020‐cv‐02218        1:2020‐cv‐02219     1:2020‐cv‐02220
1:2020‐cv‐02221   1:2020‐cv‐02222        1:2020‐cv‐02223     1:2020‐cv‐02224
1:2020‐cv‐02225   1:2020‐cv‐02226        1:2020‐cv‐02227     1:2020‐cv‐02228
1:2020‐cv‐02229   1:2020‐cv‐02230        1:2020‐cv‐02231     1:2020‐cv‐02232
1:2020‐cv‐02233   1:2020‐cv‐02234        1:2020‐cv‐02235     1:2020‐cv‐02236
1:2020‐cv‐02237   1:2020‐cv‐02238        1:2020‐cv‐02240     1:2020‐cv‐02241
1:2020‐cv‐02242   1:2020‐cv‐02243        1:2020‐cv‐02244     1:2020‐cv‐02245
1:2020‐cv‐02246   1:2020‐cv‐02247        1:2020‐cv‐02248     1:2020‐cv‐02249
1:2020‐cv‐02250   1:2020‐cv‐02251        1:2020‐cv‐02252     1:2020‐cv‐02253
1:2020‐cv‐02254   1:2020‐cv‐02255        1:2020‐cv‐02256     1:2020‐cv‐02257
1:2020‐cv‐02258   1:2020‐cv‐02259        1:2020‐cv‐02260     1:2020‐cv‐02261
1:2020‐cv‐02262   1:2020‐cv‐02263        1:2020‐cv‐02264     1:2020‐cv‐02265
1:2020‐cv‐02266   1:2020‐cv‐02267        1:2020‐cv‐02268     1:2020‐cv‐02269
1:2020‐cv‐02270   1:2020‐cv‐02271        1:2020‐cv‐02272     1:2020‐cv‐02273
1:2020‐cv‐02274   1:2020‐cv‐02275        1:2020‐cv‐02276     1:2020‐cv‐02277
1:2020‐cv‐02278   1:2020‐cv‐02279        1:2020‐cv‐02280     1:2020‐cv‐02281
1:2020‐cv‐02282   1:2020‐cv‐02283        1:2020‐cv‐02284     1:2020‐cv‐02285
1:2020‐cv‐02286   1:2020‐cv‐02287        1:2020‐cv‐02288     1:2020‐cv‐02289
1:2020‐cv‐02290   1:2020‐cv‐02291        1:2020‐cv‐02292     1:2020‐cv‐02293
1:2020‐cv‐02294   1:2020‐cv‐02295        1:2020‐cv‐02296     1:2020‐cv‐02297
1:2020‐cv‐02298   1:2020‐cv‐02299        1:2020‐cv‐02300     1:2020‐cv‐02301
1:2020‐cv‐02302   1:2020‐cv‐02303        1:2020‐cv‐02304     1:2020‐cv‐02305
1:2020‐cv‐02306   1:2020‐cv‐02307        1:2020‐cv‐02308     1:2020‐cv‐02309
1:2020‐cv‐02310   1:2020‐cv‐02311        1:2020‐cv‐02312     1:2020‐cv‐02313
1:2020‐cv‐02315   1:2020‐cv‐02316        1:2020‐cv‐02317     1:2020‐cv‐02318
1:2020‐cv‐02319   1:2020‐cv‐02320        1:2020‐cv‐02321     1:2020‐cv‐02322
1:2020‐cv‐02323   1:2020‐cv‐02324        1:2020‐cv‐02325     1:2020‐cv‐02326
1:2020‐cv‐02327   1:2020‐cv‐02328        1:2020‐cv‐02329     1:2020‐cv‐02330
1:2020‐cv‐02331   1:2020‐cv‐02332        1:2020‐cv‐02333     1:2020‐cv‐02334
1:2020‐cv‐02335   1:2020‐cv‐02336        1:2020‐cv‐02337     1:2020‐cv‐02338
1:2020‐cv‐02339   1:2020‐cv‐02340        1:2020‐cv‐02341     1:2020‐cv‐02342
1:2020‐cv‐02343   1:2020‐cv‐02344        1:2020‐cv‐02345     1:2020‐cv‐02346
1:2020‐cv‐02347   1:2020‐cv‐02348        1:2020‐cv‐02349     1:2020‐cv‐02350
1:2020‐cv‐02351   1:2020‐cv‐02352        1:2020‐cv‐02353     1:2020‐cv‐02354
1:2020‐cv‐02355   1:2020‐cv‐02356        1:2020‐cv‐02357     1:2020‐cv‐02358
1:2020‐cv‐02359   1:2020‐cv‐02360        1:2020‐cv‐02361     1:2020‐cv‐02362
1:2020‐cv‐02363   1:2020‐cv‐02364        1:2020‐cv‐02365     1:2020‐cv‐02366


                                    12
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 17 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02367   1:2020‐cv‐02368        1:2020‐cv‐02369     1:2020‐cv‐02370
1:2020‐cv‐02371   1:2020‐cv‐02372        1:2020‐cv‐02373     1:2020‐cv‐02374
1:2020‐cv‐02375   1:2020‐cv‐02376        1:2020‐cv‐02377     1:2020‐cv‐02378
1:2020‐cv‐02379   1:2020‐cv‐02380        1:2020‐cv‐02381     1:2020‐cv‐02382
1:2020‐cv‐02383   1:2020‐cv‐02384        1:2020‐cv‐02385     1:2020‐cv‐02386
1:2020‐cv‐02387   1:2020‐cv‐02388        1:2020‐cv‐02389     1:2020‐cv‐02390
1:2020‐cv‐02391   1:2020‐cv‐02392        1:2020‐cv‐02393     1:2020‐cv‐02394
1:2020‐cv‐02395   1:2020‐cv‐02396        1:2020‐cv‐02397     1:2020‐cv‐02398
1:2020‐cv‐02399   1:2020‐cv‐02400        1:2020‐cv‐02401     1:2020‐cv‐02402
1:2020‐cv‐02403   1:2020‐cv‐02404        1:2020‐cv‐02405     1:2020‐cv‐02406
1:2020‐cv‐02407   1:2020‐cv‐02408        1:2020‐cv‐02409     1:2020‐cv‐02410
1:2020‐cv‐02411   1:2020‐cv‐02412        1:2020‐cv‐02414     1:2020‐cv‐02415
1:2020‐cv‐02416   1:2020‐cv‐02417        1:2020‐cv‐02418     1:2020‐cv‐02419
1:2020‐cv‐02420   1:2020‐cv‐02421        1:2020‐cv‐02422     1:2020‐cv‐02423
1:2020‐cv‐02424   1:2020‐cv‐02425        1:2020‐cv‐02426     1:2020‐cv‐02427
1:2020‐cv‐02428   1:2020‐cv‐02429        1:2020‐cv‐02430     1:2020‐cv‐02431
1:2020‐cv‐02432   1:2020‐cv‐02433        1:2020‐cv‐02434     1:2020‐cv‐02435
1:2020‐cv‐02436   1:2020‐cv‐02438        1:2020‐cv‐02439     1:2020‐cv‐02440
1:2020‐cv‐02441   1:2020‐cv‐02442        1:2020‐cv‐02443     1:2020‐cv‐02445
1:2020‐cv‐02446   1:2020‐cv‐02447        1:2020‐cv‐02448     1:2020‐cv‐02449
1:2020‐cv‐02450   1:2020‐cv‐02451        1:2020‐cv‐02452     1:2020‐cv‐02453
1:2020‐cv‐02454   1:2020‐cv‐02455        1:2020‐cv‐02456     1:2020‐cv‐02457
1:2020‐cv‐02458   1:2020‐cv‐02460        1:2020‐cv‐02461     1:2020‐cv‐02462
1:2020‐cv‐02463   1:2020‐cv‐02464        1:2020‐cv‐02465     1:2020‐cv‐02466
1:2020‐cv‐02467   1:2020‐cv‐02468        1:2020‐cv‐02469     1:2020‐cv‐02470
1:2020‐cv‐02471   1:2020‐cv‐02472        1:2020‐cv‐02473     1:2020‐cv‐02474
1:2020‐cv‐02475   1:2020‐cv‐02477        1:2020‐cv‐02478     1:2020‐cv‐02479
1:2020‐cv‐02480   1:2020‐cv‐02481        1:2020‐cv‐02482     1:2020‐cv‐02483
1:2020‐cv‐02484   1:2020‐cv‐02485        1:2020‐cv‐02486     1:2020‐cv‐02487
1:2020‐cv‐02489   1:2020‐cv‐02490        1:2020‐cv‐02491     1:2020‐cv‐02492
1:2020‐cv‐02493   1:2020‐cv‐02494        1:2020‐cv‐02495     1:2020‐cv‐02496
1:2020‐cv‐02498   1:2020‐cv‐02499        1:2020‐cv‐02500     1:2020‐cv‐02501
1:2020‐cv‐02502   1:2020‐cv‐02503        1:2020‐cv‐02504     1:2020‐cv‐02505
1:2020‐cv‐02506   1:2020‐cv‐02507        1:2020‐cv‐02508     1:2020‐cv‐02509
1:2020‐cv‐02510   1:2020‐cv‐02511        1:2020‐cv‐02512     1:2020‐cv‐02513
1:2020‐cv‐02514   1:2020‐cv‐02515        1:2020‐cv‐02516     1:2020‐cv‐02517
1:2020‐cv‐02518   1:2020‐cv‐02519        1:2020‐cv‐02520     1:2020‐cv‐02521
1:2020‐cv‐02522   1:2020‐cv‐02523        1:2020‐cv‐02524     1:2020‐cv‐02525
1:2020‐cv‐02526   1:2020‐cv‐02527        1:2020‐cv‐02528     1:2020‐cv‐02529
1:2020‐cv‐02530   1:2020‐cv‐02531        1:2020‐cv‐02532     1:2020‐cv‐02534
1:2020‐cv‐02535   1:2020‐cv‐02536        1:2020‐cv‐02537     1:2020‐cv‐02538
1:2020‐cv‐02539   1:2020‐cv‐02540        1:2020‐cv‐02541     1:2020‐cv‐02542
1:2020‐cv‐02543   1:2020‐cv‐02544        1:2020‐cv‐02546     1:2020‐cv‐02547
1:2020‐cv‐02548   1:2020‐cv‐02549        1:2020‐cv‐02551     1:2020‐cv‐02552


                                    13
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 18 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02553   1:2020‐cv‐02554        1:2020‐cv‐02555     1:2020‐cv‐02556
1:2020‐cv‐02557   1:2020‐cv‐02558        1:2020‐cv‐02559     1:2020‐cv‐02560
1:2020‐cv‐02561   1:2020‐cv‐02562        1:2020‐cv‐02563     1:2020‐cv‐02564
1:2020‐cv‐02565   1:2020‐cv‐02566        1:2020‐cv‐02567     1:2020‐cv‐02568
1:2020‐cv‐02569   1:2020‐cv‐02570        1:2020‐cv‐02571     1:2020‐cv‐02572
1:2020‐cv‐02573   1:2020‐cv‐02574        1:2020‐cv‐02575     1:2020‐cv‐02576
1:2020‐cv‐02577   1:2020‐cv‐02578        1:2020‐cv‐02579     1:2020‐cv‐02580
1:2020‐cv‐02581   1:2020‐cv‐02582        1:2020‐cv‐02583     1:2020‐cv‐02584
1:2020‐cv‐02585   1:2020‐cv‐02586        1:2020‐cv‐02587     1:2020‐cv‐02588
1:2020‐cv‐02589   1:2020‐cv‐02590        1:2020‐cv‐02591     1:2020‐cv‐02592
1:2020‐cv‐02593   1:2020‐cv‐02594        1:2020‐cv‐02595     1:2020‐cv‐02596
1:2020‐cv‐02598   1:2020‐cv‐02599        1:2020‐cv‐02600     1:2020‐cv‐02601
1:2020‐cv‐02602   1:2020‐cv‐02603        1:2020‐cv‐02604     1:2020‐cv‐02605
1:2020‐cv‐02606   1:2020‐cv‐02607        1:2020‐cv‐02608     1:2020‐cv‐02609
1:2020‐cv‐02610   1:2020‐cv‐02611        1:2020‐cv‐02612     1:2020‐cv‐02614
1:2020‐cv‐02615   1:2020‐cv‐02616        1:2020‐cv‐02617     1:2020‐cv‐02618
1:2020‐cv‐02619   1:2020‐cv‐02620        1:2020‐cv‐02621     1:2020‐cv‐02622
1:2020‐cv‐02623   1:2020‐cv‐02624        1:2020‐cv‐02625     1:2020‐cv‐02626
1:2020‐cv‐02627   1:2020‐cv‐02628        1:2020‐cv‐02629     1:2020‐cv‐02630
1:2020‐cv‐02631   1:2020‐cv‐02632        1:2020‐cv‐02633     1:2020‐cv‐02634
1:2020‐cv‐02635   1:2020‐cv‐02636        1:2020‐cv‐02637     1:2020‐cv‐02638
1:2020‐cv‐02640   1:2020‐cv‐02641        1:2020‐cv‐02642     1:2020‐cv‐02643
1:2020‐cv‐02644   1:2020‐cv‐02645        1:2020‐cv‐02646     1:2020‐cv‐02647
1:2020‐cv‐02648   1:2020‐cv‐02649        1:2020‐cv‐02650     1:2020‐cv‐02651
1:2020‐cv‐02652   1:2020‐cv‐02653        1:2020‐cv‐02654     1:2020‐cv‐02655
1:2020‐cv‐02656   1:2020‐cv‐02657        1:2020‐cv‐02658     1:2020‐cv‐02659
1:2020‐cv‐02660   1:2020‐cv‐02661        1:2020‐cv‐02662     1:2020‐cv‐02663
1:2020‐cv‐02664   1:2020‐cv‐02665        1:2020‐cv‐02666     1:2020‐cv‐02667
1:2020‐cv‐02668   1:2020‐cv‐02669        1:2020‐cv‐02670     1:2020‐cv‐02671
1:2020‐cv‐02672   1:2020‐cv‐02673        1:2020‐cv‐02674     1:2020‐cv‐02675
1:2020‐cv‐02676   1:2020‐cv‐02677        1:2020‐cv‐02678     1:2020‐cv‐02679
1:2020‐cv‐02680   1:2020‐cv‐02681        1:2020‐cv‐02683     1:2020‐cv‐02684
1:2020‐cv‐02685   1:2020‐cv‐02686        1:2020‐cv‐02687     1:2020‐cv‐02688
1:2020‐cv‐02689   1:2020‐cv‐02690        1:2020‐cv‐02691     1:2020‐cv‐02692
1:2020‐cv‐02693   1:2020‐cv‐02694        1:2020‐cv‐02695     1:2020‐cv‐02696
1:2020‐cv‐02697   1:2020‐cv‐02698        1:2020‐cv‐02699     1:2020‐cv‐02700
1:2020‐cv‐02701   1:2020‐cv‐02702        1:2020‐cv‐02703     1:2020‐cv‐02704
1:2020‐cv‐02705   1:2020‐cv‐02706        1:2020‐cv‐02707     1:2020‐cv‐02708
1:2020‐cv‐02709   1:2020‐cv‐02711        1:2020‐cv‐02712     1:2020‐cv‐02713
1:2020‐cv‐02714   1:2020‐cv‐02715        1:2020‐cv‐02716     1:2020‐cv‐02717
1:2020‐cv‐02719   1:2020‐cv‐02720        1:2020‐cv‐02721     1:2020‐cv‐02722
1:2020‐cv‐02723   1:2020‐cv‐02724        1:2020‐cv‐02725     1:2020‐cv‐02726
1:2020‐cv‐02727   1:2020‐cv‐02728        1:2020‐cv‐02729     1:2020‐cv‐02731
1:2020‐cv‐02732   1:2020‐cv‐02733        1:2020‐cv‐02734     1:2020‐cv‐02735


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 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 19 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02736   1:2020‐cv‐02737        1:2020‐cv‐02739     1:2020‐cv‐02740
1:2020‐cv‐02741   1:2020‐cv‐02742        1:2020‐cv‐02743     1:2020‐cv‐02744
1:2020‐cv‐02745   1:2020‐cv‐02746        1:2020‐cv‐02748     1:2020‐cv‐02749
1:2020‐cv‐02750   1:2020‐cv‐02751        1:2020‐cv‐02752     1:2020‐cv‐02753
1:2020‐cv‐02754   1:2020‐cv‐02755        1:2020‐cv‐02756     1:2020‐cv‐02757
1:2020‐cv‐02758   1:2020‐cv‐02759        1:2020‐cv‐02760     1:2020‐cv‐02761
1:2020‐cv‐02762   1:2020‐cv‐02763        1:2020‐cv‐02764     1:2020‐cv‐02765
1:2020‐cv‐02766   1:2020‐cv‐02767        1:2020‐cv‐02768     1:2020‐cv‐02769
1:2020‐cv‐02770   1:2020‐cv‐02771        1:2020‐cv‐02772     1:2020‐cv‐02773
1:2020‐cv‐02774   1:2020‐cv‐02775        1:2020‐cv‐02776     1:2020‐cv‐02777
1:2020‐cv‐02778   1:2020‐cv‐02779        1:2020‐cv‐02780     1:2020‐cv‐02781
1:2020‐cv‐02782   1:2020‐cv‐02783        1:2020‐cv‐02784     1:2020‐cv‐02785
1:2020‐cv‐02787   1:2020‐cv‐02788        1:2020‐cv‐02789     1:2020‐cv‐02790
1:2020‐cv‐02791   1:2020‐cv‐02792        1:2020‐cv‐02793     1:2020‐cv‐02794
1:2020‐cv‐02795   1:2020‐cv‐02796        1:2020‐cv‐02797     1:2020‐cv‐02798
1:2020‐cv‐02799   1:2020‐cv‐02800        1:2020‐cv‐02801     1:2020‐cv‐02802
1:2020‐cv‐02803   1:2020‐cv‐02804        1:2020‐cv‐02805     1:2020‐cv‐02806
1:2020‐cv‐02807   1:2020‐cv‐02808        1:2020‐cv‐02809     1:2020‐cv‐02810
1:2020‐cv‐02811   1:2020‐cv‐02812        1:2020‐cv‐02813     1:2020‐cv‐02814
1:2020‐cv‐02815   1:2020‐cv‐02816        1:2020‐cv‐02817     1:2020‐cv‐02818
1:2020‐cv‐02819   1:2020‐cv‐02820        1:2020‐cv‐02821     1:2020‐cv‐02822
1:2020‐cv‐02823   1:2020‐cv‐02824        1:2020‐cv‐02825     1:2020‐cv‐02826
1:2020‐cv‐02827   1:2020‐cv‐02828        1:2020‐cv‐02830     1:2020‐cv‐02831
1:2020‐cv‐02832   1:2020‐cv‐02833        1:2020‐cv‐02834     1:2020‐cv‐02835
1:2020‐cv‐02836   1:2020‐cv‐02837        1:2020‐cv‐02838     1:2020‐cv‐02840
1:2020‐cv‐02841   1:2020‐cv‐02842        1:2020‐cv‐02843     1:2020‐cv‐02844
1:2020‐cv‐02845   1:2020‐cv‐02846        1:2020‐cv‐02847     1:2020‐cv‐02848
1:2020‐cv‐02850   1:2020‐cv‐02851        1:2020‐cv‐02852     1:2020‐cv‐02853
1:2020‐cv‐02854   1:2020‐cv‐02855        1:2020‐cv‐02856     1:2020‐cv‐02857
1:2020‐cv‐02859   1:2020‐cv‐02860        1:2020‐cv‐02862     1:2020‐cv‐02863
1:2020‐cv‐02864   1:2020‐cv‐02865        1:2020‐cv‐02866     1:2020‐cv‐02867
1:2020‐cv‐02868   1:2020‐cv‐02869        1:2020‐cv‐02870     1:2020‐cv‐02871
1:2020‐cv‐02872   1:2020‐cv‐02873        1:2020‐cv‐02874     1:2020‐cv‐02875
1:2020‐cv‐02877   1:2020‐cv‐02878        1:2020‐cv‐02879     1:2020‐cv‐02880
1:2020‐cv‐02881   1:2020‐cv‐02882        1:2020‐cv‐02883     1:2020‐cv‐02884
1:2020‐cv‐02885   1:2020‐cv‐02886        1:2020‐cv‐02887     1:2020‐cv‐02888
1:2020‐cv‐02889   1:2020‐cv‐02890        1:2020‐cv‐02891     1:2020‐cv‐02892
1:2020‐cv‐02893   1:2020‐cv‐02894        1:2020‐cv‐02895     1:2020‐cv‐02896
1:2020‐cv‐02897   1:2020‐cv‐02898        1:2020‐cv‐02899     1:2020‐cv‐02900
1:2020‐cv‐02901   1:2020‐cv‐02902        1:2020‐cv‐02903     1:2020‐cv‐02904
1:2020‐cv‐02905   1:2020‐cv‐02906        1:2020‐cv‐02907     1:2020‐cv‐02908
1:2020‐cv‐02909   1:2020‐cv‐02910        1:2020‐cv‐02911     1:2020‐cv‐02912
1:2020‐cv‐02913   1:2020‐cv‐02914        1:2020‐cv‐02915     1:2020‐cv‐02916
1:2020‐cv‐02917   1:2020‐cv‐02918        1:2020‐cv‐02919     1:2020‐cv‐02920


                                    15
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 20 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐02921   1:2020‐cv‐02922        1:2020‐cv‐02923     1:2020‐cv‐02924
1:2020‐cv‐02925   1:2020‐cv‐02926        1:2020‐cv‐02927     1:2020‐cv‐02928
1:2020‐cv‐02929   1:2020‐cv‐02931        1:2020‐cv‐02932     1:2020‐cv‐02933
1:2020‐cv‐02934   1:2020‐cv‐02935        1:2020‐cv‐02936     1:2020‐cv‐02937
1:2020‐cv‐02938   1:2020‐cv‐02939        1:2020‐cv‐02940     1:2020‐cv‐02941
1:2020‐cv‐02942   1:2020‐cv‐02943        1:2020‐cv‐02944     1:2020‐cv‐02945
1:2020‐cv‐02946   1:2020‐cv‐02947        1:2020‐cv‐02948     1:2020‐cv‐02949
1:2020‐cv‐02950   1:2020‐cv‐02951        1:2020‐cv‐02952     1:2020‐cv‐02953
1:2020‐cv‐02954   1:2020‐cv‐02955        1:2020‐cv‐02956     1:2020‐cv‐02957
1:2020‐cv‐02958   1:2020‐cv‐02959        1:2020‐cv‐02960     1:2020‐cv‐02961
1:2020‐cv‐02962   1:2020‐cv‐02963        1:2020‐cv‐02964     1:2020‐cv‐02965
1:2020‐cv‐02966   1:2020‐cv‐02967        1:2020‐cv‐02968     1:2020‐cv‐02969
1:2020‐cv‐02970   1:2020‐cv‐02971        1:2020‐cv‐02972     1:2020‐cv‐02973
1:2020‐cv‐02974   1:2020‐cv‐02975        1:2020‐cv‐02976     1:2020‐cv‐02977
1:2020‐cv‐02978   1:2020‐cv‐02979        1:2020‐cv‐02980     1:2020‐cv‐02981
1:2020‐cv‐02982   1:2020‐cv‐02983        1:2020‐cv‐02984     1:2020‐cv‐02985
1:2020‐cv‐02986   1:2020‐cv‐02987        1:2020‐cv‐02988     1:2020‐cv‐02989
1:2020‐cv‐02990   1:2020‐cv‐02991        1:2020‐cv‐02992     1:2020‐cv‐02993
1:2020‐cv‐02994   1:2020‐cv‐02995        1:2020‐cv‐02996     1:2020‐cv‐02997
1:2020‐cv‐02998   1:2020‐cv‐02999        1:2020‐cv‐03000     1:2020‐cv‐03001
1:2020‐cv‐03002   1:2020‐cv‐03003        1:2020‐cv‐03004     1:2020‐cv‐03005
1:2020‐cv‐03006   1:2020‐cv‐03007        1:2020‐cv‐03008     1:2020‐cv‐03009
1:2020‐cv‐03010   1:2020‐cv‐03011        1:2020‐cv‐03012     1:2020‐cv‐03013
1:2020‐cv‐03014   1:2020‐cv‐03015        1:2020‐cv‐03016     1:2020‐cv‐03017
1:2020‐cv‐03018   1:2020‐cv‐03019        1:2020‐cv‐03020     1:2020‐cv‐03021
1:2020‐cv‐03022   1:2020‐cv‐03023        1:2020‐cv‐03024     1:2020‐cv‐03025
1:2020‐cv‐03026   1:2020‐cv‐03027        1:2020‐cv‐03028     1:2020‐cv‐03029
1:2020‐cv‐03030   1:2020‐cv‐03031        1:2020‐cv‐03032     1:2020‐cv‐03033
1:2020‐cv‐03034   1:2020‐cv‐03035        1:2020‐cv‐03036     1:2020‐cv‐03037
1:2020‐cv‐03038   1:2020‐cv‐03039        1:2020‐cv‐03040     1:2020‐cv‐03041
1:2020‐cv‐03042   1:2020‐cv‐03043        1:2020‐cv‐03044     1:2020‐cv‐03045
1:2020‐cv‐03046   1:2020‐cv‐03047        1:2020‐cv‐03048     1:2020‐cv‐03049
1:2020‐cv‐03050   1:2020‐cv‐03051        1:2020‐cv‐03052     1:2020‐cv‐03053
1:2020‐cv‐03054   1:2020‐cv‐03055        1:2020‐cv‐03056     1:2020‐cv‐03057
1:2020‐cv‐03058   1:2020‐cv‐03059        1:2020‐cv‐03060     1:2020‐cv‐03061
1:2020‐cv‐03062   1:2020‐cv‐03063        1:2020‐cv‐03064     1:2020‐cv‐03065
1:2020‐cv‐03066   1:2020‐cv‐03067        1:2020‐cv‐03068     1:2020‐cv‐03069
1:2020‐cv‐03070   1:2020‐cv‐03071        1:2020‐cv‐03072     1:2020‐cv‐03073
1:2020‐cv‐03074   1:2020‐cv‐03075        1:2020‐cv‐03076     1:2020‐cv‐03077
1:2020‐cv‐03078   1:2020‐cv‐03079        1:2020‐cv‐03080     1:2020‐cv‐03081
1:2020‐cv‐03082   1:2020‐cv‐03083        1:2020‐cv‐03084     1:2020‐cv‐03085
1:2020‐cv‐03086   1:2020‐cv‐03087        1:2020‐cv‐03088     1:2020‐cv‐03089
1:2020‐cv‐03090   1:2020‐cv‐03091        1:2020‐cv‐03092     1:2020‐cv‐03093
1:2020‐cv‐03094   1:2020‐cv‐03095        1:2020‐cv‐03096     1:2020‐cv‐03097


                                    16
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 21 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐03098   1:2020‐cv‐03099        1:2020‐cv‐03100     1:2020‐cv‐03101
1:2020‐cv‐03102   1:2020‐cv‐03103        1:2020‐cv‐03104     1:2020‐cv‐03105
1:2020‐cv‐03106   1:2020‐cv‐03107        1:2020‐cv‐03108     1:2020‐cv‐03109
1:2020‐cv‐03110   1:2020‐cv‐03111        1:2020‐cv‐03112     1:2020‐cv‐03113
1:2020‐cv‐03114   1:2020‐cv‐03115        1:2020‐cv‐03116     1:2020‐cv‐03117
1:2020‐cv‐03118   1:2020‐cv‐03119        1:2020‐cv‐03120     1:2020‐cv‐03121
1:2020‐cv‐03122   1:2020‐cv‐03123        1:2020‐cv‐03124     1:2020‐cv‐03125
1:2020‐cv‐03126   1:2020‐cv‐03127        1:2020‐cv‐03128     1:2020‐cv‐03129
1:2020‐cv‐03130   1:2020‐cv‐03131        1:2020‐cv‐03132     1:2020‐cv‐03133
1:2020‐cv‐03134   1:2020‐cv‐03135        1:2020‐cv‐03136     1:2020‐cv‐03137
1:2020‐cv‐03138   1:2020‐cv‐03139        1:2020‐cv‐03140     1:2020‐cv‐03141
1:2020‐cv‐03143   1:2020‐cv‐03144        1:2020‐cv‐03145     1:2020‐cv‐03146
1:2020‐cv‐03147   1:2020‐cv‐03148        1:2020‐cv‐03150     1:2020‐cv‐03151
1:2020‐cv‐03152   1:2020‐cv‐03153        1:2020‐cv‐03154     1:2020‐cv‐03155
1:2020‐cv‐03156   1:2020‐cv‐03157        1:2020‐cv‐03158     1:2020‐cv‐03159
1:2020‐cv‐03160   1:2020‐cv‐03161        1:2020‐cv‐03162     1:2020‐cv‐03163
1:2020‐cv‐03164   1:2020‐cv‐03165        1:2020‐cv‐03166     1:2020‐cv‐03167
1:2020‐cv‐03168   1:2020‐cv‐03169        1:2020‐cv‐03170     1:2020‐cv‐03171
1:2020‐cv‐03172   1:2020‐cv‐03173        1:2020‐cv‐03174     1:2020‐cv‐03175
1:2020‐cv‐03176   1:2020‐cv‐03177        1:2020‐cv‐03178     1:2020‐cv‐03180
1:2020‐cv‐03182   1:2020‐cv‐03183        1:2020‐cv‐03184     1:2020‐cv‐03185
1:2020‐cv‐03186   1:2020‐cv‐03187        1:2020‐cv‐03188     1:2020‐cv‐03189
1:2020‐cv‐03190   1:2020‐cv‐03191        1:2020‐cv‐03192     1:2020‐cv‐03193
1:2020‐cv‐03194   1:2020‐cv‐03195        1:2020‐cv‐03196     1:2020‐cv‐03197
1:2020‐cv‐03198   1:2020‐cv‐03199        1:2020‐cv‐03200     1:2020‐cv‐03201
1:2020‐cv‐03202   1:2020‐cv‐03203        1:2020‐cv‐03204     1:2020‐cv‐03205
1:2020‐cv‐03206   1:2020‐cv‐03207        1:2020‐cv‐03208     1:2020‐cv‐03209
1:2020‐cv‐03210   1:2020‐cv‐03211        1:2020‐cv‐03212     1:2020‐cv‐03213
1:2020‐cv‐03214   1:2020‐cv‐03215        1:2020‐cv‐03216     1:2020‐cv‐03217
1:2020‐cv‐03218   1:2020‐cv‐03219        1:2020‐cv‐03220     1:2020‐cv‐03221
1:2020‐cv‐03222   1:2020‐cv‐03223        1:2020‐cv‐03224     1:2020‐cv‐03225
1:2020‐cv‐03226   1:2020‐cv‐03227        1:2020‐cv‐03228     1:2020‐cv‐03229
1:2020‐cv‐03231   1:2020‐cv‐03232        1:2020‐cv‐03233     1:2020‐cv‐03234
1:2020‐cv‐03235   1:2020‐cv‐03236        1:2020‐cv‐03237     1:2020‐cv‐03238
1:2020‐cv‐03239   1:2020‐cv‐03240        1:2020‐cv‐03241     1:2020‐cv‐03242
1:2020‐cv‐03243   1:2020‐cv‐03244        1:2020‐cv‐03245     1:2020‐cv‐03246
1:2020‐cv‐03247   1:2020‐cv‐03248        1:2020‐cv‐03249     1:2020‐cv‐03250
1:2020‐cv‐03251   1:2020‐cv‐03252        1:2020‐cv‐03253     1:2020‐cv‐03254
1:2020‐cv‐03255   1:2020‐cv‐03256        1:2020‐cv‐03257     1:2020‐cv‐03258
1:2020‐cv‐03259   1:2020‐cv‐03260        1:2020‐cv‐03261     1:2020‐cv‐03262
1:2020‐cv‐03263   1:2020‐cv‐03264        1:2020‐cv‐03265     1:2020‐cv‐03266
1:2020‐cv‐03267   1:2020‐cv‐03268        1:2020‐cv‐03269     1:2020‐cv‐03270
1:2020‐cv‐03271   1:2020‐cv‐03272        1:2020‐cv‐03273     1:2020‐cv‐03274
1:2020‐cv‐03275   1:2020‐cv‐03276        1:2020‐cv‐03277     1:2020‐cv‐03278


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 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 22 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐03279   1:2020‐cv‐03280        1:2020‐cv‐03281     1:2020‐cv‐03282
1:2020‐cv‐03283   1:2020‐cv‐03284        1:2020‐cv‐03285     1:2020‐cv‐03286
1:2020‐cv‐03287   1:2020‐cv‐03288        1:2020‐cv‐03289     1:2020‐cv‐03290
1:2020‐cv‐03291   1:2020‐cv‐03292        1:2020‐cv‐03293     1:2020‐cv‐03294
1:2020‐cv‐03295   1:2020‐cv‐03296        1:2020‐cv‐03297     1:2020‐cv‐03299
1:2020‐cv‐03300   1:2020‐cv‐03301        1:2020‐cv‐03302     1:2020‐cv‐03303
1:2020‐cv‐03304   1:2020‐cv‐03305        1:2020‐cv‐03306     1:2020‐cv‐03307
1:2020‐cv‐03308   1:2020‐cv‐03309        1:2020‐cv‐03310     1:2020‐cv‐03311
1:2020‐cv‐03312   1:2020‐cv‐03313        1:2020‐cv‐03314     1:2020‐cv‐03315
1:2020‐cv‐03316   1:2020‐cv‐03317        1:2020‐cv‐03318     1:2020‐cv‐03319
1:2020‐cv‐03320   1:2020‐cv‐03321        1:2020‐cv‐03322     1:2020‐cv‐03323
1:2020‐cv‐03324   1:2020‐cv‐03325        1:2020‐cv‐03326     1:2020‐cv‐03327
1:2020‐cv‐03328   1:2020‐cv‐03329        1:2020‐cv‐03331     1:2020‐cv‐03332
1:2020‐cv‐03333   1:2020‐cv‐03334        1:2020‐cv‐03335     1:2020‐cv‐03336
1:2020‐cv‐03337   1:2020‐cv‐03338        1:2020‐cv‐03339     1:2020‐cv‐03340
1:2020‐cv‐03341   1:2020‐cv‐03342        1:2020‐cv‐03343     1:2020‐cv‐03344
1:2020‐cv‐03345   1:2020‐cv‐03346        1:2020‐cv‐03347     1:2020‐cv‐03348
1:2020‐cv‐03349   1:2020‐cv‐03350        1:2020‐cv‐03351     1:2020‐cv‐03352
1:2020‐cv‐03353   1:2020‐cv‐03354        1:2020‐cv‐03355     1:2020‐cv‐03356
1:2020‐cv‐03357   1:2020‐cv‐03358        1:2020‐cv‐03359     1:2020‐cv‐03360
1:2020‐cv‐03361   1:2020‐cv‐03362        1:2020‐cv‐03363     1:2020‐cv‐03364
1:2020‐cv‐03365   1:2020‐cv‐03366        1:2020‐cv‐03367     1:2020‐cv‐03368
1:2020‐cv‐03369   1:2020‐cv‐03370        1:2020‐cv‐03371     1:2020‐cv‐03372
1:2020‐cv‐03373   1:2020‐cv‐03374        1:2020‐cv‐03375     1:2020‐cv‐03376
1:2020‐cv‐03377   1:2020‐cv‐03378        1:2020‐cv‐03379     1:2020‐cv‐03380
1:2020‐cv‐03381   1:2020‐cv‐03382        1:2020‐cv‐03383     1:2020‐cv‐03384
1:2020‐cv‐03385   1:2020‐cv‐03386        1:2020‐cv‐03387     1:2020‐cv‐03388
1:2020‐cv‐03389   1:2020‐cv‐03390        1:2020‐cv‐03391     1:2020‐cv‐03392
1:2020‐cv‐03393   1:2020‐cv‐03394        1:2020‐cv‐03395     1:2020‐cv‐03396
1:2020‐cv‐03397   1:2020‐cv‐03398        1:2020‐cv‐03399     1:2020‐cv‐03400
1:2020‐cv‐03401   1:2020‐cv‐03402        1:2020‐cv‐03403     1:2020‐cv‐03404
1:2020‐cv‐03405   1:2020‐cv‐03406        1:2020‐cv‐03407     1:2020‐cv‐03408
1:2020‐cv‐03409   1:2020‐cv‐03410        1:2020‐cv‐03411     1:2020‐cv‐03412
1:2020‐cv‐03413   1:2020‐cv‐03414        1:2020‐cv‐03415     1:2020‐cv‐03416
1:2020‐cv‐03417   1:2020‐cv‐03418        1:2020‐cv‐03419     1:2020‐cv‐03420
1:2020‐cv‐03421   1:2020‐cv‐03422        1:2020‐cv‐03423     1:2020‐cv‐03424
1:2020‐cv‐03425   1:2020‐cv‐03426        1:2020‐cv‐03427     1:2020‐cv‐03428
1:2020‐cv‐03429   1:2020‐cv‐03430        1:2020‐cv‐03431     1:2020‐cv‐03432
1:2020‐cv‐03433   1:2020‐cv‐03434        1:2020‐cv‐03435     1:2020‐cv‐03436
1:2020‐cv‐03437   1:2020‐cv‐03438        1:2020‐cv‐03439     1:2020‐cv‐03440
1:2020‐cv‐03441   1:2020‐cv‐03442        1:2020‐cv‐03443     1:2020‐cv‐03444
1:2020‐cv‐03445   1:2020‐cv‐03446        1:2020‐cv‐03447     1:2020‐cv‐03448
1:2020‐cv‐03449   1:2020‐cv‐03450        1:2020‐cv‐03451     1:2020‐cv‐03452
1:2020‐cv‐03453   1:2020‐cv‐03454        1:2020‐cv‐03455     1:2020‐cv‐03456


                                    18
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 23 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐03457   1:2020‐cv‐03458        1:2020‐cv‐03459     1:2020‐cv‐03460
1:2020‐cv‐03461   1:2020‐cv‐03462        1:2020‐cv‐03463     1:2020‐cv‐03464
1:2020‐cv‐03465   1:2020‐cv‐03466        1:2020‐cv‐03467     1:2020‐cv‐03468
1:2020‐cv‐03469   1:2020‐cv‐03470        1:2020‐cv‐03471     1:2020‐cv‐03472
1:2020‐cv‐03473   1:2020‐cv‐03474        1:2020‐cv‐03475     1:2020‐cv‐03477
1:2020‐cv‐03478   1:2020‐cv‐03479        1:2020‐cv‐03480     1:2020‐cv‐03481
1:2020‐cv‐03483   1:2020‐cv‐03484        1:2020‐cv‐03485     1:2020‐cv‐03486
1:2020‐cv‐03487   1:2020‐cv‐03488        1:2020‐cv‐03489     1:2020‐cv‐03490
1:2020‐cv‐03491   1:2020‐cv‐03492        1:2020‐cv‐03493     1:2020‐cv‐03494
1:2020‐cv‐03495   1:2020‐cv‐03496        1:2020‐cv‐03497     1:2020‐cv‐03498
1:2020‐cv‐03499   1:2020‐cv‐03500        1:2020‐cv‐03501     1:2020‐cv‐03502
1:2020‐cv‐03503   1:2020‐cv‐03504        1:2020‐cv‐03505     1:2020‐cv‐03506
1:2020‐cv‐03507   1:2020‐cv‐03508        1:2020‐cv‐03509     1:2020‐cv‐03510
1:2020‐cv‐03511   1:2020‐cv‐03512        1:2020‐cv‐03513     1:2020‐cv‐03514
1:2020‐cv‐03515   1:2020‐cv‐03516        1:2020‐cv‐03517     1:2020‐cv‐03518
1:2020‐cv‐03519   1:2020‐cv‐03520        1:2020‐cv‐03521     1:2020‐cv‐03522
1:2020‐cv‐03523   1:2020‐cv‐03524        1:2020‐cv‐03525     1:2020‐cv‐03526
1:2020‐cv‐03527   1:2020‐cv‐03528        1:2020‐cv‐03530     1:2020‐cv‐03531
1:2020‐cv‐03532   1:2020‐cv‐03533        1:2020‐cv‐03534     1:2020‐cv‐03535
1:2020‐cv‐03536   1:2020‐cv‐03537        1:2020‐cv‐03538     1:2020‐cv‐03539
1:2020‐cv‐03540   1:2020‐cv‐03541        1:2020‐cv‐03542     1:2020‐cv‐03543
1:2020‐cv‐03544   1:2020‐cv‐03545        1:2020‐cv‐03546     1:2020‐cv‐03547
1:2020‐cv‐03548   1:2020‐cv‐03549        1:2020‐cv‐03550     1:2020‐cv‐03551
1:2020‐cv‐03552   1:2020‐cv‐03553        1:2020‐cv‐03554     1:2020‐cv‐03555
1:2020‐cv‐03556   1:2020‐cv‐03557        1:2020‐cv‐03558     1:2020‐cv‐03559
1:2020‐cv‐03560   1:2020‐cv‐03561        1:2020‐cv‐03562     1:2020‐cv‐03563
1:2020‐cv‐03564   1:2020‐cv‐03565        1:2020‐cv‐03566     1:2020‐cv‐03567
1:2020‐cv‐03568   1:2020‐cv‐03569        1:2020‐cv‐03570     1:2020‐cv‐03572
1:2020‐cv‐03573   1:2020‐cv‐03574        1:2020‐cv‐03575     1:2020‐cv‐03576
1:2020‐cv‐03577   1:2020‐cv‐03578        1:2020‐cv‐03579     1:2020‐cv‐03580
1:2020‐cv‐03581   1:2020‐cv‐03582        1:2020‐cv‐03583     1:2020‐cv‐03584
1:2020‐cv‐03585   1:2020‐cv‐03586        1:2020‐cv‐03587     1:2020‐cv‐03588
1:2020‐cv‐03589   1:2020‐cv‐03590        1:2020‐cv‐03592     1:2020‐cv‐03593
1:2020‐cv‐03594   1:2020‐cv‐03596        1:2020‐cv‐03597     1:2020‐cv‐03598
1:2020‐cv‐03600   1:2020‐cv‐03601        1:2020‐cv‐03602     1:2020‐cv‐03603
1:2020‐cv‐03604   1:2020‐cv‐03605        1:2020‐cv‐03606     1:2020‐cv‐03607
1:2020‐cv‐03608   1:2020‐cv‐03609        1:2020‐cv‐03610     1:2020‐cv‐03611
1:2020‐cv‐03612   1:2020‐cv‐03613        1:2020‐cv‐03614     1:2020‐cv‐03615
1:2020‐cv‐03616   1:2020‐cv‐03617        1:2020‐cv‐03618     1:2020‐cv‐03619
1:2020‐cv‐03620   1:2020‐cv‐03621        1:2020‐cv‐03622     1:2020‐cv‐03623
1:2020‐cv‐03624   1:2020‐cv‐03625        1:2020‐cv‐03626     1:2020‐cv‐03627
1:2020‐cv‐03629   1:2020‐cv‐03630        1:2020‐cv‐03631     1:2020‐cv‐03632
1:2020‐cv‐03633   1:2020‐cv‐03634        1:2020‐cv‐03635     1:2020‐cv‐03636
1:2020‐cv‐03637   1:2020‐cv‐03638        1:2020‐cv‐03639     1:2020‐cv‐03640


                                    19
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 24 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐03641   1:2020‐cv‐03642        1:2020‐cv‐03643     1:2020‐cv‐03644
1:2020‐cv‐03645   1:2020‐cv‐03646        1:2020‐cv‐03647     1:2020‐cv‐03648
1:2020‐cv‐03649   1:2020‐cv‐03650        1:2020‐cv‐03651     1:2020‐cv‐03652
1:2020‐cv‐03653   1:2020‐cv‐03654        1:2020‐cv‐03655     1:2020‐cv‐03656
1:2020‐cv‐03657   1:2020‐cv‐03658        1:2020‐cv‐03659     1:2020‐cv‐03660
1:2020‐cv‐03661   1:2020‐cv‐03662        1:2020‐cv‐03663     1:2020‐cv‐03664
1:2020‐cv‐03665   1:2020‐cv‐03666        1:2020‐cv‐03667     1:2020‐cv‐03668
1:2020‐cv‐03669   1:2020‐cv‐03670        1:2020‐cv‐03671     1:2020‐cv‐03672
1:2020‐cv‐03673   1:2020‐cv‐03674        1:2020‐cv‐03675     1:2020‐cv‐03676
1:2020‐cv‐03677   1:2020‐cv‐03678        1:2020‐cv‐03679     1:2020‐cv‐03680
1:2020‐cv‐03681   1:2020‐cv‐03682        1:2020‐cv‐03683     1:2020‐cv‐03684
1:2020‐cv‐03685   1:2020‐cv‐03693        1:2020‐cv‐03694     1:2020‐cv‐03695
1:2020‐cv‐03696   1:2020‐cv‐03699        1:2020‐cv‐03700     1:2020‐cv‐03701
1:2020‐cv‐03702   1:2020‐cv‐03703        1:2020‐cv‐03704     1:2020‐cv‐03705
1:2020‐cv‐03706   1:2020‐cv‐03707        1:2020‐cv‐03708     1:2020‐cv‐03710
1:2020‐cv‐03712   1:2020‐cv‐03713        1:2020‐cv‐03714     1:2020‐cv‐03715
1:2020‐cv‐03716   1:2020‐cv‐03717        1:2020‐cv‐03718     1:2020‐cv‐03719
1:2020‐cv‐03720   1:2020‐cv‐03721        1:2020‐cv‐03722     1:2020‐cv‐03723
1:2020‐cv‐03724   1:2020‐cv‐03725        1:2020‐cv‐03726     1:2020‐cv‐03727
1:2020‐cv‐03728   1:2020‐cv‐03730        1:2020‐cv‐03731     1:2020‐cv‐03732
1:2020‐cv‐03734   1:2020‐cv‐03735        1:2020‐cv‐03736     1:2020‐cv‐03737
1:2020‐cv‐03738   1:2020‐cv‐03739        1:2020‐cv‐03740     1:2020‐cv‐03741
1:2020‐cv‐03742   1:2020‐cv‐03745        1:2020‐cv‐03746     1:2020‐cv‐03747
1:2020‐cv‐03748   1:2020‐cv‐03749        1:2020‐cv‐03750     1:2020‐cv‐03751
1:2020‐cv‐03752   1:2020‐cv‐03753        1:2020‐cv‐03754     1:2020‐cv‐03755
1:2020‐cv‐03758   1:2020‐cv‐03759        1:2020‐cv‐03760     1:2020‐cv‐03763
1:2020‐cv‐03764   1:2020‐cv‐03765        1:2020‐cv‐03766     1:2020‐cv‐03767
1:2020‐cv‐03768   1:2020‐cv‐03769        1:2020‐cv‐03770     1:2020‐cv‐03772
1:2020‐cv‐03773   1:2020‐cv‐03774        1:2020‐cv‐03775     1:2020‐cv‐03777
1:2020‐cv‐03778   1:2020‐cv‐03779        1:2020‐cv‐03780     1:2020‐cv‐03783
1:2020‐cv‐03784   1:2020‐cv‐03785        1:2020‐cv‐03786     1:2020‐cv‐03787
1:2020‐cv‐03788   1:2020‐cv‐03789        1:2020‐cv‐03790     1:2020‐cv‐03791
1:2020‐cv‐03792   1:2020‐cv‐03793        1:2020‐cv‐03795     1:2020‐cv‐03796
1:2020‐cv‐03798   1:2020‐cv‐03800        1:2020‐cv‐03805     1:2020‐cv‐03806
1:2020‐cv‐03808   1:2020‐cv‐03809        1:2020‐cv‐03810     1:2020‐cv‐03811
1:2020‐cv‐03812   1:2020‐cv‐03813        1:2020‐cv‐03814     1:2020‐cv‐03816
1:2020‐cv‐03818   1:2020‐cv‐03819        1:2020‐cv‐03820     1:2020‐cv‐03823
1:2020‐cv‐03826   1:2020‐cv‐03828        1:2020‐cv‐03830     1:2020‐cv‐03832
1:2020‐cv‐03833   1:2020‐cv‐03836        1:2020‐cv‐03841     1:2020‐cv‐03842
1:2020‐cv‐03844   1:2020‐cv‐03845        1:2020‐cv‐03846     1:2020‐cv‐03847
1:2020‐cv‐03849   1:2020‐cv‐03850        1:2020‐cv‐03851     1:2020‐cv‐03852
1:2020‐cv‐03853   1:2020‐cv‐03854        1:2020‐cv‐03855     1:2020‐cv‐03856
1:2020‐cv‐03857   1:2020‐cv‐03858        1:2020‐cv‐03859     1:2020‐cv‐03860
1:2020‐cv‐03861   1:2020‐cv‐03862        1:2020‐cv‐03863     1:2020‐cv‐03864


                                    20
 Case 1:20-cv-03412-3JP Document 8         Filed 02/10/21   Page 25 of 25

                       SCHEDULE OF CASES

1:2020‐cv‐03865   1:2020‐cv‐03866        1:2020‐cv‐03870     1:2020‐cv‐03871
1:2020‐cv‐03872   1:2020‐cv‐03874        1:2020‐cv‐03875     1:2020‐cv‐03876
1:2020‐cv‐03878   1:2020‐cv‐03879        1:2020‐cv‐03883     1:2020‐cv‐03886
1:2020‐cv‐03887   1:2020‐cv‐03889        1:2020‐cv‐03890     1:2020‐cv‐03891
1:2020‐cv‐03892   1:2020‐cv‐03893        1:2020‐cv‐03894     1:2020‐cv‐03895
1:2020‐cv‐03896   1:2020‐cv‐03897        1:2020‐cv‐03900     1:2020‐cv‐03901
1:2020‐cv‐03905   1:2020‐cv‐03906        1:2020‐cv‐03907     1:2020‐cv‐03908
1:2020‐cv‐03909   1:2020‐cv‐03910        1:2020‐cv‐03913     1:2020‐cv‐03917
1:2020‐cv‐03921   1:2020‐cv‐03925        1:2020‐cv‐03926     1:2020‐cv‐03929
1:2020‐cv‐03931   1:2020‐cv‐03932        1:2020‐cv‐03938     1:2021‐cv‐00001
1:2021‐cv‐00002   1:2021‐cv‐00003        1:2021‐cv‐00006     1:2021‐cv‐00010
1:2021‐cv‐00011   1:2021‐cv‐00013        1:2021‐cv‐00014     1:2021‐cv‐00017
1:2021‐cv‐00020   1:2021‐cv‐00021        1:2021‐cv‐00022     1:2021‐cv‐00025
1:2021‐cv‐00030   1:2021‐cv‐00033        1:2021‐cv‐00034     1:2021‐cv‐00035
1:2021‐cv‐00044   1:2021‐cv‐00048




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